Avewrums —— pue Sully

BJO] Hone

LOL #aqryxg

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 1 of 104

fee DNs Coy or ts Bt Xoo vu yi ATE ere SO BUT eae MTU é

eS a Oa Ra bey Pe) elt ae cect oS i nits TPT ECR MMO MAP LOM LCT Mee Cr RUT Oe) EMAC cl
O)annisi Me aCe erANN TOON UIC Oba CIEIKCM R HLa Lima Rue ELT TOTOLICH ETM DSel Tri Tri telyts ad MANTECA MIke aM ReTTI TOF MIMe Tn coe MW ETT CON Tes Tenn BLT Na eat eaCT COR ULe Ln ec HTKeyI i Be]

COC aT a Pad INTUTE NCS DeLee SELLERS SSIES Le PRAM CM TT MTT ScT Rca IST MESS TMT a EURO Seat AR OSD Coco ae Cee Freel Cu oc em ocoaw st meee cel
Pap YON TT CURUTOUNHIN Cated Mere NGI CAMEOS TTT NCCU Cece UR LUE ara nea a ceceece (Tea Ce cece UD aC uM KUm Le

hg ONT Miya Ox Ons POSE Coa) EPA Be BS. ii es Beret) am Ki Doe

a GPa ET OOS AA MU ce
|

16844353 | OHANA | 6/144 12:18 | 6/14/24 12:18 | 11/224 0:00 | 11/6/24 13:38 | Stringer | DISMISSED|CC™>2" = Nattee of Voluntary Dismissal Hiled on Oct 24, 22% |
without prejudice --

16844353 OHANA 6/14/24 12:18 6/14/24 12:18 Civil Cover Sheet - Injunctive Relief’

16844353 OHANA | 6/14/24 12:18 6/14/24 12:18 Plaintiff's Motion For Temporary Restraining Order and Preliminary Injunction

Memorandum In Support of Ohana Growth Partners Motion For Temporary

16844353 | OHANA | 6/14/24 12: 6/14/24 12: Lis ahs ona
ee er. Le , 28 Restraining Order and Preliminary Injunction

erjured
Statement Refutted By Evidence.
Exhibit 2: Affidavit of Justin Drummond || Every Material Statement is a Perjured |
Statement Refutted By Evidence.
Exhibit 3: 1998 Legislative History For GB0925 || Does not apply to their
arguments {
Certificate of Notice Regarding Motion For Temporary Restraining Order. Lists

the work email RDC was prohibited by Ohana from accessing. M&S had RDC
mobile and email since Dec 2023. Ohana since 2019. Both had used them in

2024 multiple times.

Temporary Restraining Order. No Notice Ex Parte. No hearing notes, no
transcript available.

Line Regarding Poisting of $1.00 Cash Bond in Connection with Temporary
Restraining Order

Petition to Show Cause for Constructive Civil Contempt RULING ENV:16928345
- Scheduled for June 26th @ 9am

Hand Delivered to Clerk - Letter to Judge Truffer (Chambers Judge on 6/18)
RULING ENV: 169238345

The Court Record Is Not The Origional Exhibits Attached & Mandatory Hearing
under Md Rule 15-504 DENIED

Randall J . Romes || Exhibit A is Resume || Signature Page Attached AFTER
submission and without the digital signature validation || PR 11-12 Copy/Paste of
Hartman. PR 10 False Statement No State/Local/Federal
law/regulartion/involvment associated with any mechanism of PCI DSS. || PR 7-8
States He Reviewed Judge Letter from June 18 -- saw no specific PCI DSS
requirement. Contradicting Court Record.

OHANA 6/27/24 15:21 6/27/24 15:21 6/27/24 13:57 6/27/24 13:57 Barranco GRANTED|Order Holding Defendant in Constructive Civil || imposed $2500 per day file

16844353 OHANA 6/14/24 12:18 6/14/24 12:18

16844353. | OHANA | 6/14/24 12:18 6/14/24 12:18

16844353 OHANA | 6/14/24 12:18 6/14/24 12:18

16844353 OHANA 6/14/24 12:18 6/14/24 12:18

16844353 OHANA 6/14/24 12:18 6/14/24 12:18 6/17/24 10:50 6:17 11:06 DeSimone GRANTED

OHANA | 6/17/24 14:45 6/17/24 14:45

OHANA 6/20/24 12:24 6/21/24 12:23 Truffer GRANTED

i Accepted | 6/18/24 13:18 6/18/24 13:18 6/21/24 0:00 6/21/24 12:23 Truffer DENIED

OHANA | 6/25/24 11:33

Filing and Ruling Summary Page 1 of 8
Arewunsg Sulyny pue Bully

3 JOT # ORR

TOT #qryxXA

LEAD A ede) Los BCL

AEH

AE ey

WANTS Ka
AUR Ea

AUR ES
BoE Te
AN Tere 4!)
BEAUTY On we!)
WAN Tel sp AS)
Aurea p 2!)
ede Teen 24S)
PAV Tere B24")
Aeron ed)
Ae)
ANT CTcy AY)
Uy AY)
AU eYo) PAE

17091979

17091979

Case 1:24-cv-03744-BAH Document 16-1

plea

OHANA | 6/27/24 12:01

6/27/24 12:01

Paxson

Filed 01/03/25

Page 2 of 104

USOT iio

6/27/24 12:01

ee re Ate coe

6/27/24 12:01 Barranco

LSC

GRANTED

Lance bee

Preliminary Injunetion Order ORDER UPDATED on 6/27/2024 15:21 00 |
17013408 || filed with granted order envelope ORDER SAYS TO TAKE
SUBSTANTIALLY THE SAME ACTIONAS ORDERED BY THE TRO. Falsely |
claims willful non-compliance. Order acknowledges TRO notice was AFTER TRO |
issuance |

DEFENDANT: Motion to Reconsider Denial of Continuance +Exhibit Index +

Aree be os : 4 Od 2 TEN’
Ree ree ee HET te Ensor | DEFICIENT), hibits 1+3+5+6 | 2 and 4 Uploaded Separately Due to Size EFILED
Accepted | 7/1/24 838 TRA 944 Ensor | DEFICIENT|UNREDACTED FILING Exhibits 1B and JE efiled
Accepted 7/1/24 8:38 7/2/24 9:44 Ensor DEFICIENT|Exhibit 2+4
A WAA IY (Sse We cae WA oe 9 ete © JA) Dan 0) OT OA Gees Wy: Be OF DO 0) OD Dy OD oo Wes 8 OF Bn a DD BN ad KOS) VA 0
DEFENDANT NOTICE OF CORRECTIVE FILING FOR EXHIBIT 1V +
ae 29 Re 5 L
Rejected | 7/1/24 15:38 Ensor REFECTDI fn ret eon taeri vl ahitiebe HORI
Rejected | 7/1/24 15:38 Ensor REJECTED |DEFENDANT EXHIBIT 1V UNREDACTED FILING

DEFENDANT NOTICE OF CORRECTIVE FILING FOR EXHIBIT IV +

scepte 24 1h 5/24 15:2 Sig ONT
Accepted 7/2/24 11:48 7/5/24 15:21 Ensor DEFICIENT REDACTED EXHIBIT 1V +MDJ008 FORM
Accepted 7/2/24 11:48 Sted 15:21 FORM MDJ-008 for Exhibit 1V i
Accepted p Ensor DEFICIENT|Unredacted Exhibit 1V

7/3/24 15:13

Accepted 7/5/24 18:45

7/8/24 11:39

scheduled for Aug 7 @ lpm

Notice of Corrective Filing for Exhibit 1V

ccepte : shibit 1B
Accepted TPA 12:52 75/24 15: 16 NOTICE - FORM MDJ-008 - Exhibit 1B i
Accepted 7/2/24 12:52 7/5/24 15:16 NOTICE - FORM MDJ-008 - Exhibit LE |
Accepted | 7/2/24 12:52 1/5/24 15:16 Exhibit Series 2 +4
| Accepted 7/2/24 12:52 7/5/24 15:16 Exhibit Series |
Accepted 7/2/24 12:52 7/5/24 15:16 Exhibit Series 3
Accepted 7/2/24 12:52 7/5/24 15:16 Exhibit Series 5
Accepted 7/2/24 12:52 7/5/24 15:16 Exhibit Series 6
Accepted |_7/2n4 12:52 | wspaisie [tt Exhibit Index |
Affidavit of Daniel J Levett || Refutes material statements of Hartman and j
OHANA 7/3/24 13:13 Drummond. 1) No Admins, 2) No Access. || Claims to be involved since the first :
HEA email in June. ss
OHANA Barame GRANTED Petition to Show Cause For Constructive Civil Contempt Seeking Incarceration -

Accepted 7/5/24 18:45

7/8/24 11:39

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT

TO RULE 20-201.1

Accepted 7/5/24 18:45

7/8/24 11:39

Exhibit 1V REDACTED

7/5/24 18:45
LO OAL LT

Accepted

7/8/24 11:39

ICs 5) Oey

Pru) ey COCs) we KN

Exhibit 1V UNREDACTED

MU MO ihe l(cemiire DKS

A]

Hy NETO)

Accepted 7/8/24 9:13 7/8/24 14:31 7/8/24 15:08 7/8/24 15:40 Alexander DENIED|Motion for Extension of Time
Accepted 7/8/24 9:13 7/8/24 14:31 Exhibit Index - Motion for Extension of Time
Filing and Ruling Summary Page 2 of 8
AWUING SulNy pue Bulyly

Jog #Odeg

TOT waqryxg

era (ey ers
A hehe}

Case 1:24-cv-03744-BAH Document 16-1 Filed 01/03/25 Page 3 of 104
PS ete Panes ct SULT a ec ALF reo Hear Ua ETF UC ho
Accepted 7/8/24 9:13 7/8/24 14:31 Exhibit Series - Motion for Extension of Time
ei Accepted 7/8/24 9:13 7/8/24 14:31 Cees wR 7/30/24 15:07 Stringer DENIED|Motion to Strike Referenced Evidence
Accepted 7/8/24 9:13 7/8/24 14:31 Exhibit Index - Motion to Strike Referenced Evidence
Accepted 7/8/24 9:13 7/8/24 14:3) Exhibit Series - Motion to Strike Referenced Evidence
Accepted 7/8/24 9:13 7/8/24 14:31 8/2/24 12:46 Stringer DENIED|Motion to Strike Exhibit B From The Affidavit of Richard Hartman
Accepted 7I8/24 9-13 7/8/24 14-31 Exhibit Index - Motion to Strike Exhibit B From The Affidavit of Richard
Hartman
Accepted 7/8/24 9:13 7/8/24 14:31 Notice of Filing

eA Ue
ae eee
RPE)
ALS
WAR LIRES:)
WARURPS)
PR PPA)

PRP PAL.)

17319514

17682236
__ 17682236
eiereCy

ember

Wien)

EES

7/8/24 14:07 | __7/9/24 8:39 Na
7/8/24 18:00 7/9/24 13:52 SOUCM inom) 7/22/24 10:11 DENIED |Request for Clarification on Denied Motion for Extension

Accepted

7/8/24 9:13

TAT/24 15:20

7/8/24 14:31

7/18/24 11:46

Deficient Filing

Notice of Filing - Motions

of Time

MOTION TO VACATE TRO AND SHOW CAUSE ORDER DUE TO
INSUFFICIENT NOTICE AND DUE PROCESS VIOLATIONS

Accepted

OHANA

TAT/24 15:20

7/23/24 12:24

7/18/24 11:46
7/23/24 12:24

EXHIBIT - Motion to Vacate TRO and Show Cause Due to Insufficient Notice
and Due Process Violations

Entry of Appearance for Jessica Duvall (AID# 1812110110)

Accepted | 7/20/24 10:03 7/23/24 8:16 8/9/24 8:57 Stringer DENIED|Motion to Amend Motion to Strike Referenced Evidence
Accepted | 7/20/24 10:03 7/23/24 8:16 8/9/24 8:57 Stringer DENIED] Motion to Strike Referenced Evidence
Accepted | 7/20/24 10:03 7/23/24 8:16 Exhibit 8P-1 - Rule 20-301 - Content of Official Record
Accepted | 7/20/24 10:03 7/23/24 8:16 Exhibit 8P-2 - Motion to Strike Referenced Evidence v2
: } Cane r 9 -Refili r aficy
Actented 8/1/24 23:58 g/d 13-42 8/20/24 8-24 8/21/24 8-39 DENIED Motion to Vacate Show Cause Order of June 21 2024 - Refiling from Deficint
Filing: Combined Motions
Accepted 8/1/24 23:58 8/2/24 13-42 8/20/24 20:00 8/21/24 8:39 tia DENIED ee Vacate Temporary Restraining Order - Refiling Deficient: Combined
OHANA | 8/20/24 10:58 | GRANTED | 8/20/24 14:54 | 8/21/24 12:43 Exhibit 1: Richard Hartman Second Afidavit on Military Record of Service

8/20/24 10:58 |

ee

8/20/24 14:54

8/21/24 12:43 |

Battista |

GRANTED

Petition for Default Order - Vacated 10/10

Opposition To Request For Entry Of Order Of Default Against Defendant Ryan

Acce : ‘02
Accepted | 8/20/24 17:05 8/21/24 9:02 Dillon-Capps pdf
- Proposed Order - Opposition To Request For Entry Of Order Of Default Against
Accepte' /20/2 05 21/24 9:02 : :
peated we0e ENS SLA Defendant Ryan Dillon-Capps.pdf
Exhibit 1 - Opposition To Request For Entry Of Order Of Default Against
: yf. i : ‘ . . &
mecepiad SBOES 1705 Balas 902 Defendant Ryan Dillon-Capps.pdf
Accepted | 8/26/24 23:40 8/27/24 8:14 Tat 9/17/24 15:42 Stringer DENIED |Defendant's Motion To Dismiss For Insufficiency of Service of Process
Accepted 8/26/24 23:40 8/27/24 8:14 Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf
>ROPOSE a ion To Dismi 1 ere “Service OF
Accepted | 8/26/24 23:40 8/27/24 B14 PROF OSED Order Granting Motion To Dismiss For Insufficiency Of Service O
Process.pdf
Accepted | 9/20/24 23:56 9/23/24 11:55 | Stringer GRANTED Motion - Vacate Order of Default
Filing and Ruling Summary Page 30f8
AewUMS Sul[nYy pue sully

8 JO p x Beg

TOT #QruyxXy

Case 1:24-cv-03744-BAH

Document 16-1

Filed 01/03/25

Page 4 of 104

Accepted | 9/23/24 23:43 9/24/24 11:27 Line Regarding Affidavit of Plaintiff's Abuse of the Judicial System
Accepted | 9/23/24 23:43 9/24/24 11:27 alfidavit_plaintiff abuse judicial_system
Accepted 9/25/24 6:13 9/25/24 13:34 Affidavit of Legal Obligation

Accepted 9/25/24 6:13 9/25/24 13:34 Exhibits Affidavit of Legal Obligation

Accepted 9/25/24 6:13 9/25/24 13:34 Stringer MOOT|Motion to Strike Opposition of Motion to Vacate Default Order

Accepted 9/27/24 6:19 9/30/24 8:40 Stringer DENIED] Motion for Sanctions

Accepted 9/27/24 6:19 9/30/24 8:40 Affidavit for Sanctions

Accepted 9/27/24 6:19 9/30/24 8:40 Proposed Order

nara.

Accepted | 9/30/24 18:37 10/2/24 7:08 10/23/24 17:11 10/24/24 8:25 Barranco DENIED] Motion to Assert Rights and Request Immediate Rulings

Accepted LO/1/24 4:35 10/2/24 7:15 Line-A ffidavit-Motion-Rights-Request-[mmediate-Rulings

Accepted 10/1/24 4:35 10/2/24 7:15 Affidavit-Motion-Rights-Request-Immediate-Rulings

i ri p sord < “dents 7 asa icd 1 Ass t

Accepted | 10/2/24 15:09 10/3/24 9:46 10/25/24 8:27 Siineen DENIED Motion to Correct the Record Accidentally filed as a duplicate Motion to Asser
Rights and Request Immediate Rulings

Accepted | 10/3/24 13:01 10/4/24 9:22 Stringer DENIED] Motion to Add Counsel of Record

Accepted 10/4/24 12:25 10/7/24 6:12 Affidavit of Harm

Accepted 10/4/24 12:25 10/7/24 6:12 Line Affidavit of Harm
Notice of Hypothesis of Crayons - This is Filed in Crayon Font Accepted

‘ Accepted | 10/5/24 18:18 10/7/24 12:50 Notice Filed} Without Any Issues Deficient/Rejected/Stricken Are Highly Targeted to

Prevent Key Exhibits and Hearings

Accepted 10/7/24 12:06 10/8/24 7:10 affidavil-financial-urgency + Exhibit 1, 2, 3

Rejected 10/7/24 12:06 Ensor REJECTED |affidavit-financial-urgency-exhibit-l-unredacted

Accepted | 10/7/24 12:06 10/8/24 7:10 Ensor DEFICIENT |affidavit-linancial-urgency-mdj008

Accepted 10/8/24 9:54 10/8/24 14:43 . Ut | Stringer MOOT|motion-urgent-hearing-constitutional rights

Rejected 10/8/24 9:54 Finifter STRIKEN |affidavit-financial-urgency-exhibit-| -unredacted

i Eye Accepted

10/8/24 9:54

10/8/24 14:43

affidavil-financial-urgency

oR

10/8/24 14:31 10/9/24 7:46
yore24 17:36 | 19924220 Tensor
wononasas | Tensor [DEFICIENT

SERS
ERE Se)
Rvp
ee eee!
ever ecole
Ree 10

Filing and Ruling Summary

Bn nz 10/10/24 14:14 | 10/11/24 14:13 | 10/11/24 15:00

OGM CROP HUR BAY (acm Cche Gk DUEL ied RU OLE LOCC 1 ate hy EL Corea sow COL Meso! Gy ego at) Oy ae BE

10/8/24 9:54

10/9/24 14

10/8/24 14:43

VEE MUU 11/7/24 10:15

Ensor

Page 4 of 8

DEFICIENT

DEFICIENT

affidavit-financial-urgency-mdj008

motion-administrative-judge-hearing ENV: 18334529

second-request-admin-hearing env: 18344494 || No Exhibits - Screenshots
ce YU BO) ny LCi WECM OLEAN MMRUTH MTOR LECH Re ELL) DCL ULLELE oo i oh Tire ree ee Ad STUD ELL) Desa LO Pel Ce)

GRANTED |third-request-admin-hearing

Areurung Surpny pue Furylz

8 JO ¢ Hse

TOT #qryuxXy

Case 1:24-cv-03744-BAH

Document 16-1

Filed 01/03/25

Page 5 of 104

Accepted | 10/11/24 14:44 | 10/15/24 12:52 motion-expedited-discovery
Rejected 10/11/24 14:44 Ensor REJECTED|subpoena-duces-tecum-documents
Rejected | 10/11/24 14:44 Ensor REJECTED) notice-deposition-third-parties-bbj.
Accepted | 10/15/24 15:24 | 10/16/24 14:43 affidavit-bad-faith
Accepted | 10/15/24 15:24 | 10/16/24 14:43 memo-law-reciprical
Accepted | 10/15/24 15:24 | 10/16/24 14:43 Stringer MOOT |motion-disqualify-counsel
Accepted | 10/15/24 15:24 | 10/16/24 14:43 10/16/24 15:41 Unknown DENIED | motion-expedite-hearing-admin-judge-order
Accepted | 10/15/24 15:24 | 10/16/24 14:43 Stringer DENTED | motion-injunction-compensation
Accepted | 10/15/24 15:24 | 10/16/24 14:43 DENIED | motion-strike-bad-faith
Accepted | 10/15/24 15:24 | 10/16/24 14:43 Stringer MOOT|motion-strike-opposition-motion-add-counsel
Accepted | 10/15/24 15:24 | 10/16/24 14:43 11/6/24 14:48 Stringer DENIED | motion-strike-opposition-motion-compel
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-disqualify-milesstockbridge
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-mandatory-injunction-restore-pay-financial-urgency
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-motion-emergency-expedite-hearing-admin-judge-orde
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-motion-strike-bad-faith-opposition
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-motion-strike-bad-faith-opposition-compel
Accepted | 10/15/24 15:24 | 10/16/24 14:43 proposed-order-motion-strike-bad-faith-op position-defendant-add-counsel
' 9
y
t
affidavit- Piet the a caer “Not
Accepted | 10/16/24 15:23 | 10/17/24 13:41 affidavit crayons This sue Affidavit that the Notice of Affidavit named "Notice
for Hypothesis of Crayons" provided notice for.
Accepted | 10/17/24 10:55 10/18/24 9:21 affidavit-contract-modifications
Accepted | 10/17/24 10:55 10/18/24 9:21 11/7/24 13:57 Robinson DENIED |request-reconsdier-enforcement-admin-judge-ruling-20241011
Accepted | 10/17/24 10:55 10/18/24 9:21 proposed-order-request-reconsider-enforcement-admin-judge-entered-2024 1011
Accepted | 10/18/24 10:23 10/2 1/24 7:25 10/21/24 11:35 10/21/24 11:35 Ensor| Stricken Filing|motion-allow-prose-rep-lic || Refiled 4 minutes Later 18458907
Accepted | 10/18/24 10:27 10/21/24 7:26 motion-allow-prose-rep-llc
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Affidavit of Exhibits
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Affidavit of Writing Analysis
: ende ion for Mandi junction to Restore lost pay due to financial
Accepted | 10/22/24 19:07 | 10/23/24 11:56 PESRWCPEIAMI 11/18/24 10:57 | Stringer | MASS DENY ar Motion for Mandatory Injunction to Restore lost pay due to financia
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Amended Motion for Mandatory Injunction to Restore Lost Pay
Accepted | 10/22/24 19:07 | 10/23/24 11:56 HI/LS/ 12:18 Stringer MOOT]|Deposition Request for Agents of Ohana Growth Partners
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion for Expedited Discovery
rin S eciproca “y's Fees for Prevailing
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Memorandum of Law in Support of Reciprocal Attorney's Fees for Prevailing
Defendants in Fraudulent Lawsuits
Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion to Add Counsel of Record
Accepted | 10/22/24 19:07 | 10/23/24 11:56 [RA Ryee AAD 11/15/24 12:20 Stringer MOOT]Motion to Compel Production to Support Claims at Hearing
Filing and Ruling Summary Page 50f8

Areurung Surypny pue Suryiy

$jogxaseg

TOT WQIyxg

fe

18536331

Case 1:24-cv-03744-BAH

Document 16-1

Filed 01/03/25

Page 6 of 104

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion to Compel Productions to Support Claims at Hearing

Accepted | 10/22/24 19:07 | 10/23/24 11:56 JR RWARIPE MIR) 11/15/24 11:14 Stringer MOOT|Motion for Early Discovery

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion for Early Discovery

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion for Reciprocal Relief as Submitted from Motion from
Sanctions

Accepted | 10/22/24 19:07 | 10/23/24 11:56 11/15/24 11-28 Siringer MOOT Motion in Limine to Exclude Claims, Statements and Affirmations not supported
by evidence

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion in Limine to Exclude Claims, Statements and
Affirmations not supported by evidence
= = a : Saar ae a :

Accepted | 10/22/24 19:07 | 10/23/24 11:56 P roposed Order Motion to Dismiss with Prejudice as submitted from Motion
from Sanctions

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion to Disqualify Counsel as submitted in Motion for
Sanctions

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Proposed Order - Motion for Sanctions as submitted from Motion from Sanctions

Accepted | 10/22/24 19:07 | 1023/24 11:56 Proposed Order - Motion to Vacate TRO as submitted from Motion from
Sanctions

Accepted | 10/22/24 19:07 | 10/23/24 11:56 Notice of Line Filing

Accepted | 10/22/24 19:07 | 10/23/24 12:19 oppose-schedule-conference

Accepted | 10/22/24 19:07 | 10/23/24 12:19 oppose-schedule-conferenc-proposed-order

Rejected | 10/22/24 19:07 Ensor REJECTED |notice-discovery-request-production

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/18/24 10:57 Stringer MASS DENY | motion-better-maryland-recipricol-relief-oct23

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-better-maryland-recipricol-relief-oct23-proposed-order

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/15/24 12:31 Stringer MOOT|motion-dismiss-prejudice-oct23

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-dismiss-prejudice-oct23 -proposed-order

Accepted | 10/23/24 10:45 | 10/23/24 16:01 L1/13/24 12:24 Stringer MOOT|motion-disqualify-milesstockbridge-oct23

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-disqualify-milesstockbridge-oct23-proposed-order

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/18/24 10:57 Stringer MASS DENY |motion-injunctive-prevent-abuse-oct23

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-injunctive-prevent-abuse-oct2 3 -proposed-order

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/15/24 12:24 Stringer DENIED |motion-referral-criminal-ethical-investigation-oct23

Accepted | 10/23/24 10:45 10/23/24 16:01 motion-referral-criminal-ethical-investigation-oct23-proposed-order.

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/18/24 10:57 Stringer MASS DENY | motion-sanctions-not-sanction

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-sanctions-nol-sanclion-act23-proposed-order

Accepted | 10/23/24 10:45 | 10/23/24 16:01 11/15/24 11:42 Stringer MOOT) motion-vacate-tro-oct23

Accepted | 10/23/24 10:45 | 10/23/24 16:01 motion-vacate-tro-oct23-proposed-order.

Accepted | 10/23/24 10:45 | 10/23/24 16:01 reply-opposition-expedited-discovery

Accepted | 10/23/24 16:15 | 10/24/24 14:23 notice-withdraw-third-depo-bbj.

Accepted | 10/23/24 l6:15 | 10/24/24 14:23 notice-withdraw-subpoena-duces-tecum-bbj

See eee eee ciel eed! notice-withdraw-motion-proposed-orders

OHANA 10/24/24 8:53 10/24/24 8:53 Stringer GRANTED]Notice of Voluntary Withdrawl

Accepted 10/25/24 8:17 10/25/24 11:55 affidavit-voluntary-dismissal

Accepted 10/25/24 8:17 10/25/24 11:55 motion-strike-notice-voluntary-dismissal-proposed-order

Filing and Ruling Summary

Page 6 of 8

Arewtuung Surpny pue Suryiy

BJO, #adeg

TOL HalyXg

Case 1:24-cv-03744-BAH Document 16-1 Filed 01/03/25 Page 7 of 104
Accepted 10/25/24 8:17 10/25/24 11:55 11/19/24 8:21 Stringer DENIED | motion-strike-notice-voluntary-dismissal
Accepted | 10/25/24 18:51 | 10/28/24 11:21 11/18/24 12:27 Stringer DENIED | motion-sanctions-2024 1025
Accepted | 10/25/24 18:51 | 10/28/24 11:21 motion-sanctions-2024 1025-proposed-order
©
Accepted | 10/28/24 10:25 | 10/28/24 14:35 amended-affidavit-abussive-use-judicial-system
Accepted | 10/28/24 10:25 | 10/28/24 14:35 motion-amend-affidavit-abusive-use-proposed-order
Accepted | 10/28/24 10:25 | 10/28/24 14:35 11/7/24 13:57 Robinson DENTED | motion-reconsider-compell-formal-notice-representation
Accepted | 10/28/24 10:25 | 10/28/24 14:35 motion-reconsider-add-counsel-proposed-order
Accepted | 10/28/24 10:25 10/28/24 14:35 Ensor Stricken Filing |motion-amend-affidavit-abusive-use
Accepted | 10/28/2415:03 | 10/29/24 7:37 motion-amend-affidavit-abusive-use || Refiled the Striken
Accepted | 10/30/247:50 | 10/30/24 14:31 request-clarification-1010-1028-stringer
Accepted 10/30/24 7:50 10/30/24 14:31 request-clarification-[ 01 0-1028-stringer-proposed-order
Accepted | 10/30/24 7:53 | 10/30/24 14:27 11/7/24 0:00 11/7/24 15:03 Robinson DENIED|Request for Emergency Administrative Review
Accepted | 10/30/24 7:53 10/30/24 14:27 Proposed Order - Request for Emergency Administrative Review
Accepted | 10/30/24 9:02 10/30/24 14:34 opposition-notice-voluntary-dismissal
Accepted 10/30/24 9:02 10/30/24 14:34 opposilion-notice-voluntary-dismissal-proposed-order
Accepted 11/1/24 9:18 LI/1/24 13:49 amended-affidavit-rights-ruling
Accepted 11/1/24 9:18 11/1/24 13:49 Line-directed-verdict
Accepted 11/1/24 9:18 11/1/24 13:49 motion-directed-verdict
Accepted 11/1/24 9:18 11/1/24 13:49 motion-directed-verdict-proposed-order.
Accepted 11/1/24 9:18 11/1/24 13:49 11/26/24 13:27 12/2/24 11:10 Mayer DENIED |request-mandatory-judicial-notice-hearing-fact
Accepted 11/1/24 9:18 11/1/24 13:49 request-mandatory-judicial-notice-hearing-facts-proposed-order
Accepted 11/1/24 20:43 11/4/24 14:44 11/6/24 16:04 11/26/24 10:39 Mayer DENIED |prehearing-conference-injunctive-relief
Accepted 11/1/24 20:43 11/4/24 14:44 prehearing-conference-injunctive-relic!-proposed-order
Accepted | 11/1/24 20:43 11/4/24 14:44 motion-ex pedite-prehearing-conference-injunctive-relief
Accepted 11/1/24 20:43 11/4/24 14:44 motion-cxpedite-prehearing-conference-injunctive-relief-proposed-order
Accepted | 11/4/24 15:57 11/7/24 9:19 amended-motion-sanctions-20241025
Accepted | 11/4/24 15:57 11/7/24 9:19 amended-motion-strike-notice-voluntary-dismissal
Accepted | 11/4/24 15:57 11/7/24 9:19 withdraw-motion-sanctions-20241025
Accepted 11/4/24 15:57 11/7/24 9:19 | 12/2/24 15:36 Stringer DENIED |withdraw-motion-strike-notice-voluntary-dismissal
Accepted 11/4/24 15:57 11/7/24 9:19 amended-motion-sanctions-2024 | 025-proposed-order
Accepted 11/4/24 15:57 11/7/24 9:19 amended-motion-strike-notice-voluntary-dismissal-proposed-order
Accepted 11/4/24 15:57 11/7/24 9:19 withdraw-motion-sanctions-2024 1025-proposed-order
Accepted 11/4/24 15:57 11/7/24 9:19 withdraw-motion-strike-notice-voluntary-dismissal-proposed-order
Accepted | 11/4/24 15:57 11/7/24 9:19 reply-opposition-2024 1025-sanctions
Accepted 11/4/24 15:57 11/7/24 9:19 reply-opposition-2024 | 025-sanctions-proposed-order
Accepted 11/4/24 15:57 L1/7/24 9:19 memo-law-adjucated-facts
Accepted 11/4/24 15:57 11/7/24 9:19 line-nov4-memo-law-facts
Filing and Ruling Summary Page 7 of 8

Areutung Sulpny pue suryi7

jog #adeg

TOT #q!uxy

Perino (yb
LVRS ES
Tova seis)

|
11/5/24 4:16] 7/24 7:43 Tl emo-law-perseverare-autum-diabolicum
|

11/7/24.10:24 | weedii25 | Notice to Defer Finalization of Costs Pending Full Cost Documentation

|

a
Rar

RWACCONS)

EWA eth
AR ORY

Bare

VEO ett

ESET
thea betes

ea es

ea eetsts
eet

Filing and Ruling Summary

Bits

Accepted

mie

11/4/24 15:57

Case 1:24-cv-03744-BAH Document 16-1

ery Le KOs Eure

11/7/24 9:19

BI tte

Filed 01/03/25

DTH

motion-consolidate-prevent-framework

Page 8 of 104

scence SEs WIT aN ee a

Accepted

Accepted

11/4/24 15:57

11/7/24 11:42

11/7/24 9:19

11/8/24 11:55

motion-consolidate-prevent-framework-proposed-order

motion-preserve-court-records

Accepted

Accepted

11/7/24 11:42

11/7/24 12:03

11/8/24 11:55

11/8/24 11:53

motion-preserve-court-record-proposed-order

motion-defer-final-cost-pending-documentation

Accepted

Accepted

11/7/24 12:03

11/8/24 13:57

11/8/24 11:53

11/12/24 11:33

motion-defer-final-cost-pending-documentation-proposed-order

affidavit-factual-basis

Accepted

Accepted

11/8/24 13:57

L1/8/24 16:27

11/12/24 11:33

11/13/24 9:11 Ensor

DEFICIENT

memorandum-law-equal-tier-fact-standard

mdj008-nolice-exhibil-1

Accepted 11/8/24 16:27 11/13/24 9:11 Ensor DEFICIENT |mdj008-notice-exhibit-2
Rejected 11/8/24 16:27 Ensor REJECTED |exhibits-unredacted
Accepted 11/8/24 16:27 11/13/24 9:11 exhibits-redacted
Accepted | 11/8/24 16:27 11/13/24 9:11 alfidavit-exhibits-finharm
RESPECTFULLY SUBMITTED
December 22, 2024 — | 1334 Maple Avenue
ChY | Essex, Maryland 21221
._ésf Ryan Dillon-Capps ; —— } cyan@mxt3.com

Ryan Dillon-Capps

; 703-303-1113

Page 8 of 8

Case 1:24-cv-03744-BAH Document 16-1 Filed 01/03/25 Page 9Qof 104

Case Information

C-03-CV-24-002264 | Ohana Growth Partners, LLC vs. Ryan Dillon-Capps

Case Number
C-03-CV-24-002264
File Date
06/14/2024

Party

Plaintiff
Ohana Growth Partners, LLC

Address
212 West Padonia Road
Timonium MD 21093

Interested Person/ Party (Participant)

Wagner, Ryan

Address
1334 Maple Ave
Essex MD 21221

Court

Baltimore County Circuit Court

Case Type Case Status
Injunction Open

Active Attorneys ¥
Attorney

Klein, Victoria
Retained

Lead Attorney
BRENNEN, ROBERT SCOTT
Retained

Attorney
Duvall, Jessica Lynne
Retained

Septerinber 28, 2024 Page # | of 19 EXHIBIT

10]

Oficial Court Record Ledger

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Defendant
Dillon-Capps, Ryan

Address
1334 Maple Avenue
Essex MD 21221

Events and Hearings

06/14/2024 Summons Issued +

Requested By
Ohana Growth Partners, LLC

Served
06/17/2024

06/14/2024 Complaint / Petition +

Complaint / Petition

06/14/2024 Case Information Report Filed +
Case Information Report Filed
06/14/2024 Motion +

Motion for TRO and Injunctive Relief
06/14/2024 Memorandum ¥
Memorandum of Law in Support of
06/14/2024 Supporting Exhibit +
Supporting Exhibit 1 - Hartment Affidavit
06/14/2024 Supporting Exhibit +
Supporting Exhibit 2 - Drummond Affidavit
06/14/2024 Supporting Exhibit +

Septermber 28, 2024 Page # 2 of 19

Page 10 of 104

EXHIBIT

101

Olficial Court Record Ledger

|

Case 1:24-cv-03744-BAH

Document 16-1 ‘Filed 01/03/25

Supporting Exhibit 3 - 1998 Legislative History

06/14/2024 Notice Filed +

Certificate of Notice Regarding Motion for Temporary Restraining Order

06/14/2024 Summons Issued (Service Event) +

CC-CV-032 WRIT OF SUMMONS

06/14/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/17/2024 Order - Motion/Request/Petition Granted +

Order - Motion for Temporary Restraining Order

Judicial Officer
DeSimone, Marc A,
Jr.

06/17/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/17/2024 Line +

Line

06/17/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

06/18/2024 Affidavit - Service +

Affidavit - Service

06/18/2024 Correspondence ¥

Order and Correspondence to Judge Truffer

06/20/2024 Petition for Contempt/Enforcement +

Petition for Contempt/Enforcement

06/21/2024 Show Cause Order~

Requested By
Ohana Growth Partners, LLC

Septermber 28, 2024 Page # 3 of 19

Page 11 of 104

EXHIBIT

10]

Official Court Record Ledger
Case 1:24-cv-03744-BAH Document 16-1

Served
07/08/2024

06/21/2024 Order - Motion/Request/Petition Denied +

Order and Correspondence to Judge Truffer

Judicial Officer
Truffer, Keith R.

06/21/2024 Order - Show Cause Issued ¥

Order - Show Cause

Judicial Officer
Truffer, Keith R.

06/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

06/21/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

06/25/2024 Line +

Line regarding affidavit of Randall Romes

06/25/2024 Affidavit ¥

Affidavit of Randall J. Romes

06/26/2024 Hearing - Injunction +
Original Type

Hearing - Injunction

CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL

Judicial Officer
Barranco, Michael

Hearing Time
9:00 AM

Result
Continued

Parties Present
Plaintiff: Onana Growth Partners, LLC

Filed 01/03/25

Septermber 28, 2024 Page # 4 of 19

Page 12 of 104

EXHIBIT

101

OlMicial Court Record Ledger

=

Case 1:24-cv-03744-BAH Document 16-1

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

06/26/2024 Hearing Sheet +

Hearing Sheet

Judicial Officer
Barranco, Michael

06/26/2024 Hearing Notice Issued ¥

Contempt Hearing Notice

06/27/2024 Hearing - Contempt +
Original Type

Hearing - Contempt

Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Hearing Time
01:00 PM

Result
Concluded / Held

Parties Present»
Plaintiff: Ohana Growth Partners, LLC

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

06/27/2024 Order - Motion/Request/Petition Granted +

Order Granting Preliminary Injunction

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/27/2024 Hearing Sheet +

Hearing Sheet

Filed 01/03/25

Septermber 28, 2024 Page # 5 of 19

Page 13 of 104

EXHIBIT

10]

OMeial Court Record Ledger

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Judicial Officer
Barranco, Michael

06/27/2024 Order +

Order Holding Defendant in Constructive Civil Contempt

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

07/01/2024 Deficient Filing

Deficient Filing

07/01/2024 Deficient Filing +

Deficient Filing

07/01/2024 Deficient Filing +

Deficient Filing

07/02/2024 Notice of Deficiency - Rule 20-203(d) ~

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Notice of Deficiency - Rule 20-203(d) ~

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Writ /Summons/Pleading - Electronic Service +

Writ‘Summons/Pleading Electronic Service

07/02/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 +

MDJ-002 NOTICE OF REJECTED SUBMISSION

07/02/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

Septermber 28, 2024 Page # 6 of 19

Page 14 of 104

EXHIBIT

101

Official Court Record Ledger
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

07/02/2024 Motion ¥

Motion

07/02/2024 Supporting Exhibit +

Exhibit 1B + 1E UNREDACTED

07/02/2024 Notice Filed +

NOTICE - FORM MDJ-008 - Exhibit 1B

07/02/2024 Notice Filed ¥

NOTICE - FORM MDJ-008 - Exhibit 1E

07/02/2024 Supporting Exhibit +

Exhibit Series 2 + 4

07/02/2024 Supporting Exhibit +

Exhibit Series 1

07/02/2024 Supporting Exhibit +

Exhibit Series 3

07/02/2024 Supporting Exhibit +

Exhibit Series 5

07/02/2024 Supporting Exhibit +

Exhibit Series 6

07/02/2024 Supporting Document +

Exhibit Index

07/02/2024 Deficient Filing ¥

Deficient Filing

07/02/2024 Notice Filed +

FORM MDJ-008 for Exhibit 1V

Septermber 28, 2024 Page # 7 of 19

Page 15 of 104

EXHIBIT

10]

OlMicial Court Record Ledger

o

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 16 of 104

07/02/2024 Deficient Filing +

Deficient Filing

07/03/2024 Petition for Contempt/Enforcement +

Petition for Contempt/Enforcement

07/03/2024 Supporting Exhibit +

Supporting Exhibit - Levett Affidavit

07/05/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/05/2024 Notice of Deficiency - Rule 20-203(d) ~

CC-DC-094 MDEC DEFICIENCY NOTICE

07/05/2024 Notice Filed +

Notice of Corrective Filing for Exhibit 1V

07/05/2024 Notice Filed +

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

07/05/2024 Supporting Exhibit ~

Exhibit 1V REDACTED

07/05/2024 Unredacted Filing

Exhibit 1V UNREDACTED

07/05/2024 Order - Motion/Request/Petition Denied +

Motion

Judicial Officer
Truffer, Keith R.

07/08/2024 Order - Motion/Request/Petition Granted +

Proposed Order / Decree Show Cause

Judicial Officer
Barranco, Michael

Septermber 28, 2024 Page # 8 of 19

EXHIBIT

10]

OMeial Court Record Ledger

&
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

07/08/2024 Motion ¥

Motion for Extension of Time & Order Denying Motion for Extension of Time

07/08/2024 Supporting Document +

Supporting Document - Motion for Extension of Time

07/08/2024 Supporting Exhibit +

Supporting Exhibit - Motion for Extension of Time

07/08/2024 Motion +

Order for Motion to Strike Referenced Evidence

07/08/2024 Supporting Document ¥

Supporting Document - Motion to Strike Referenced Evidence

07/08/2024 Supporting Exhibit +

Supporting Exhibit - Motion to Strike Referenced Evidence

07/08/2024 Motion ¥

Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Supporting Document +

Page 17 of 104

Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Notice Filed +

Notice of Filing

07/08/2024 Supporting Document ¥

Supporting Document to Notice Filed

07/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/08/2024 Order - Motion/Request/Petition Denied ¥

Motion for Extension of Time & Order Denying Motion for Extension of Time

Septermber 28, 2024 Page # 9 of 19

EXHIBIT

10]

OlMficial Court Record Ledger
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Judicial Officer
Alexander, Jan
Marshall

07/08/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

07/08/2024 Notice Filed +

Notice of Errata

07/08/2024 Motion +

Request for Clarification on Denied Motion for Extension of Time

07/10/2024 Affidavit - Service +

Affidavit - Service

07/15/2024 Hearing Notice Issued +

Show Cause/Contempt Hearing Notice

07/15/2024 Returned/Undeliverable Mail ~

Returned/Undeliverable Mail

07/17/2024 Writ /Summons/Pleading - Electronic Service +

Writ'Summons/Pleading Electronic Service

07/17/2024 Notice Filed ~

Notice of Withdrawal of Petition for Contempt (Incarceration)

07/17/2024 Deficient Filing +

Page 18 of 104

Deficient Filing/Env#17252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice

07/17/2024 Supporting Exhibit +

EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations

07/17/2024 Motion +

Motion to Vacate Show Cause Order of June 21 2024

07/17/2024 Motion +

Septermber 28, 2024 Page # 10 of 19

EXHIBIT

o

Olficial Court Record Ledger
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion to Vacate Temporary Restraining Order-Denied

07/18/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/18/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

07/20/2024 Motion +

Motion to Amend Motion to Strike Referenced Evidence

07/20/2024 Motion ¥

Motion to Strike Referenced Evidence

07/20/2024 Supporting Exhibit ~

Exhibit 8P-1 - Rule 20-301 - Content of Official Record

07/20/2024 Supporting Exhibit +

Exhibit 8P-2 - Motion to Strike Referenced Evidence v2

07/22/2024 Order - Motion/Request/Petition Denied +

Request for Clarification on Denied Motion for Extension of Time

Judicial Officer
Alexander, Jan
Marshall

07/22/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

07/23/2024 Attorney Appearance - No Fee +

Attorney Appearance - No Fee

07/23/2024 Opposition +

Opposition to Motion to Strike Referenced Evidence

07/23/2024 Opposition »

Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman

Septermber 28, 2024 Page #11 of 19

Page 19 of 104

EXHIBIT

10]

=

Official Court Reeord Ledger
Case 1:24-cv-03744-BAH Document 16-1

07/24/2024 Order +

Order-Strike Show Cause Order

Judicial Officer
Barranco, Michael

07/24/2024 Writ /‘Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/25/2024 Exhibits / Records Returned +

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS

07/25/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/30/2024 Order - Motion/Request/Petition Denied +

Order for Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
dr.

07/30/2024 Writ /‘Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

08/02/2024 Order - Motion/Request/Petition Denied +

Order - Motion to Strike Exhibit B

Judicial Officer
Stringer, H. Patrick,
Jr.

08/02/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

08/07/2024 Hearing - Contempt ¥

Show Cause/Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Hearing Time
01:00 PM

Filed 01/03/25

Septermber 28, 2024 Page # 12 of 19

Page 20 of 104

EXHIBIT

101

Olficial Court Reeord Ledger

Case 1:24-cv-03744-BAH Document 16-1

Cancel Reason
Cancelled/Vacated

08/09/2024 Order - Motion/Request/Petition Denied +

Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
Jr.

08/09/2024 Order - Motion/Request/Petition Denied +

Motion to Amend Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
Jr.

08/09/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

08/09/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/20/2024 Request - Order of Default ~

Request - Order of Default

08/20/2024 Supporting Exhibit +

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit ¥

Exhibit 2 - Affidavit of Non-Military Status

08/20/2024 Request - Order of Default +

Request - Order of Default

08/20/2024 Supporting Exhibit +

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit +

Exhibit 2 - Affidavit of Non-Military Status

Filed 01/03/25

Septermber 28, 2024 Page # 13 of 19

Page 21 of 104

EXHIBIT

101

Olficial Court Reeord Ledger

‘=
Case 1:24-cv-03744-BAH Document 16-1

08/20/2024 Opposition +

Opposition to Request for Order of Default Against Ryan Dillon-Capps

08/20/2024 Supporting Exhibit ~

Exhibit 1 - Opposition to Request for Entry of Order of Default

08/21/2024 Order - Motion/Request/Petition Moot +

Motion to Vacate Show Cause Order of June 21 2024

Judicial Officer
Mayer, Stacy A.

08/21/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

08/21/2024 Order - Motion/Request/Petition Denied +

Motion to Vacate Temporary Restraining Order-Denied

Judicial Officer
Mayer, Stacy A.

08/21/2024 Order - Motion/Request/Petition Granted +

CC-DR-054JO ORDER OF DEFAULT

Judicial Officer
Battista, Andrew

08/21/2024 Notice of Default Order Issued

CC-CV-008 NOTICE OF DEFAULT ORDER

08/21/2024 Writ /Summons/Pieading - Electronic Service +

WritSummons/Pleading Electronic Service

08/21/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

08/26/2024 Motion / Request - To Dismiss ¥

Motion/Request - To Dismiss

08/26/2024 Memorandum +

Septermber 28, 2024 Page # 14 of 19

Filed 01/03/25

Page 22 of 104

EXHIBIT

101

Olficial Court Record Ledger

&
Case 1:24-cv-03744-BAH Document 16-1

Defendant's Memorandum of Law in Support of Motion to Dismiss. pdf

09/09/2024 Opposition +

Opposition to Defendant's Motion to Dismiss

09/17/2024 Order - Motion/Request/Petition Denied +

Order denying Motion to Dismiss

Judicial Officer
Stringer, H. Patrick,
Jr.

09/17/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ'Summons/Pleading Electronic Service

09/20/2024 Motion - Vacate Order of Default +

Motion - Vacate Order of Default

09/23/2024 Opposition +

Opposition to Defendant Motion to Vacate Order of Default

09/23/2024 Line ¥

Line Regarding Affidavit of Plaintiff's Abuse of the Judicial System

09/23/2024 Affidavit +

affidavit_plaintiff_abuse_judicial_system

09/25/2024 Affidavit +

Affidavit of Legal Obligation

09/25/2024 Supporting Exhibit +

Exhibits Affidavit of Legal Obligation

09/25/2024 Motion +

Motion to Strike Opposition of Motion to Vacate Default Order

09/26/2024 Opposition +

Opposition to Motion to Strike Plaintiff's Opposition to Motion to Vacate Order of Default

Septermber 28, 2024 Page # 15 of 19

Filed 01/03/25

Page 23 of 104

EXHIBIT

Official Court Record Ledger
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Documents

Complaint / Petition

Case Information Report Filed

Motion for TRO and Injunctive Relief
Memorandum of Law in Support of
Supporting Exhibit 1 - Hartment Affidavit
Supporting Exhibit 2 - Drummond Affidavit
Supporting Exhibit 3 - 1998 Legislative History
Order - Motion for Temporary Restraining Order
Certificate of Notice Regarding Motion for Temporary Restraining Order
CC-CV-032 WRIT OF SUMMONS
WritSummons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Line

CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL
Writ/Summons/Pleading Electronic Service
Affidavit - Service

Order and Correspondence to Judge Truffer
Petition for Contempt/Enforcement

Order - Show Cause

WritSummons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Line regarding affidavit of Randall Romes
Affidavit of Randall J. Romes

Contempt Hearing Notice

Hearing Sheet

Order Granting Preliminary Injunction
Writ/Summons/Pleading Electronic Service
Hearing Sheet

Order Holding Defendant in Constructive Civil Contempt

Septermber 28, 2024 Page # 16 of 19

Page 24 of 104

EXHIBIT

101

QOlvicial Court Record Ledger
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service
Plaintiffs Ex. 1 - Email and Order to Appear and Show Cause
Plaintiffs Ex. 2 - Exhibit 1 Forwarded to the Defendant
Deficient Filing

Deficient Filing

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
Writ/Summons/Pleading Electronic Service
MDJ-002 NOTICE OF REJECTED SUBMISSION
Writ/Summons/Pleading Electronic Service
Petition for Contempt/Enforcement

Supporting Exhibit - Levett Affidavit

Proposed Order / Decree Show Cause

Motion

Exhibit 1B + 1E UNREDACTED

NOTICE - FORM MDJ-008 - Exhibit 1B

NOTICE - FORM MDJ-008 - Exhibit 1E

Exhibit Series 2 + 4

Exhibit Series 1

Exhibit Series 3

Exhibit Series 5

Exhibit Series 6

Exhibit Index

Deficient Filing

FORM MDJ-008 for Exhibit 1V

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
CC-DC-094 MDEC DEFICIENCY NOTICE

Notice of Corrective Filing for Exhibit 1V

Page 25 of 104

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

Exhibit 1V REDACTED

Exhibit 1V UNREDACTED

Motion for Extension of Time & Order Denying Motion for Extension of Time
Supporting Document - Motion for Extension of Time

Supporting Exhibit - Motion for Extension of Time

Order for Motion to Strike Referenced Evidence

Supporting Document - Motion to Strike Referenced Evidence

Supporting Exhibit - Motion to Strike Referenced Evidence

Motion to Strike Exhibit B From The Affidavit of Richard Hartman

Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman

Notice of Filing

Septermber 28, 2024 Page # 17 of 19

EXHIBIT

101

er

a
2

Official Court Reeord Led
Case 1:24-cv-03744-BAH Document 16-1

Supporting Document to Notice Filed

Writ/Summons/Pleading Electronic Service
Writ'Summons/Pleading Electronic Service

Notice of Errata

Request for Clarification on Denied Motion for Extension of Time
Affidavit - Service

Show Cause/Contempt Hearing Notice

Returned/Undeliverable Mail

Writ‘Summons/Pleading Electronic Service

Notice of Withdrawal of Petition for Contempt (Incarceration)

Order-Strike Show Cause Order

Filed 01/03/25

Page 26 of 104

Deficient Filing/Env#17252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice

EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations

CC-DC-094 MDEC DEFICIENCY NOTICE
WritvSummons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service

Motion to Amend Motion to Strike Referenced Evidence
Motion to Strike Referenced Evidence

Exhibit 8P-1 - Rule 20-301 - Content of Official Record
Exhibit 8P-2 - Motion to Strike Referenced Evidence v2
Attorney Appearance - No Fee

Opposition to Motion to Strike Referenced Evidence
Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman
Order - Motion to Strike Exhibit B

Wrt/Summons/Pleading Electronic Service

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service

Motion to Vacate Show Cause Order of June 21 2024

Motion to Vacate Temporary Restraining Order-Denied
Writ(Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service

Request - Order of Default

Exhibit 1 - Affidavit of Process Server

Exhibit 2 - Affidavit of Non-Wilitary Status

CC-DR-054JO ORDER OF DEFAULT
Writ/Summons/Pleading Electronic Service

Opposition to Request for Order of Default Against Ryan Dillon-Capps
Exhibit 1 - Opposition to Request for Entry of Order of Default

WritSummons/Pleading Electronic Service

Septermber 28, 2024 Page # 18 of 19

EXHIBIT

101

Olficial Court Record Ledger

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 27 of 104

’

CC-CV-008 NOTICE OF DEFAULT ORDER
Writ/Summons/Pleading Electronic Service

Motion/Request - To Dismiss

Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf
Order denying Motion to Dismiss

Opposition to Defendant's Motion to Dismiss
Writ/Summons/Pleading Electronic Service

Motion - Vacate Order of Default

Opposition to Defendant Motion to Vacate Order of Default

Line Regarding Affidavit of Plaintiffs Abuse of the Judicial System
affidavit_plaintiff_abuse_judicial_system

Affidavit of Legal Obligation

Exhibits Affidavit of Legal Obligation

Motion to Strike Opposition of Motion to Vacate Default Order

Opposition to Motion to Strike Plaintiff's Opposition to Motion to Vacate Order of Default

Septermber 28, 2024 Page # 19 of 19 EXHIBIT 101

Official Court Record Ledger
Case 1:24-cv-03744-BAH Document 16-1

Case Information

C-03-CV-24-002264 | Ohana Growth Partners, LLC vs. Ryan Dillon-Capps

Case Number
C-03-CV-24-002264
File Date
06/14/2024

Party

Plaintiff
Ohana Growth Partners, LLC

Address
212 West Padonia Road
Timonium MD 21093

Interested Person/ Party (Participant)

Wagner, Ryan

Address

Court

Baltimore County Circuit Court
Case Type

Injunction

Novs Court Ledger Page | of 37

Filed 01/03/25 Page 28 of 104

Case Status
Closed

Active Attorneys *
Attorney

Klein, Victoria
Retained

Lead Attorney
BRENNEN, ROBERT SCOTT
Retained

Attorney
Duvall, Jessica Lynne
Retained

Attorney

Frenkil, Steven D
Retained

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

1334 Maple Ave
Essex MD 21221

Defendant
Dillon-Capps, Ryan

Address
1334 Maple Avenue
Essex MD 21221

Events and Hearings

06/14/2024 Summons Issued ¥

Requested By
Ohana Growth Partners, LLC

Served
06/17/2024

06/14/2024 Complaint / Petition +
Complaint / Petition

06/14/2024 Case Information Report Filed +
Case Information Report Filed

06/14/2024 Motion +

Motion for TRO and Injunctive Relief
06/14/2024 Memorandum +

Memorandum of Law in Support of

06/14/2024 Supporting Exhibit +

Supporting Exhibit 1 - Hartment Affidavit

Novs Court Ledger Page 2 of 37

Page 29 of 104

Exhibit 10]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 30 of 104

06/14/2024 Supporting Exhibit +

Supporting Exhibit 2 - Drummond Affidavit

06/14/2024 Supporting Exhibit +

Supporting Exhibit 3 - 1998 Legislative History

06/14/2024 Notice Filed ¥

Certificate of Notice Regarding Motion for Temporary Restraining Order

06/14/2024 Summons Issued (Service Event) ¥

CC-CV-032 WRIT OF SUMMONS

06/14/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/17/2024 Order - Motion/Request/Petition Granted +

Order - Motion for Temporary Restraining Order

Judicial Officer
DeSimone, Marc A,
Jr.

06/17/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

06/17/2024 Line +

Line

06/17/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/18/2024 Affidavit - Service +

Affidavit - Service

06/18/2024 Correspondence +

Order and Correspondence to Judge Truffer

06/20/2024 Petition for Contempt/Enforcement ¥

Nov8 Court Ledger Page 3 of 37 Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Petition for Contempt/Enforcement

06/21/2024 Show Cause Order +

Requested By
Ohana Growth Partners, LLC

Served
07/08/2024

06/21/2024 Order - Motion/Request/Petition Denied ¥

Order and Correspondence to Judge Truffer

Judicial Officer
Truffer, Keith R.

06/21/2024 Order - Show Cause Issued ¥

Order - Show Cause

Judicial Officer
Truffer, Keith R.

06/21/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/21/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

06/25/2024 Line +

Line regarding affidavit of Randall Romes

06/25/2024 Affidavit +

Affidavit of Randall J. Romes

06/26/2024 Hearing - Injunction +
Original Type

Hearing - Injunction

CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL

Judicial Officer
Barranco, Michael

Novs Court Ledger Page 4 of 37

Page 31 of 104

Exhibit 10]

Case 1:24-cv-03744-BAH Document 16-1

Hearing Time
9:00 AM

Result
Continued

Parties Present «
Plaintiff: Ohana Growth Partners, LLC

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

06/26/2024 Hearing Sheet ¥

Hearing Sheet

Judicial Officer
Barranco, Michael

06/26/2024 Hearing Notice Issued ¥

Contempt Hearing Notice

06/27/2024 Hearing - Contempt +
Original Type

Hearing - Contempt

Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Hearing Time
01:00 PM

Result
Concluded / Held

Parties Present
Plaintiff: Ohana Growth Partners, LLC

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

06/27/2024 Order - Motion/Request/Petition Granted ¥

Order Granting Preliminary Injunction

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service ¥

Filed 01/03/25

Nov& Court Ledger Page 5 of 37

Page 32 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document 16-1

Writ/Summons/Pleading Electronic Service

06/27/2024 Hearing Sheet ¥

Hearing Sheet

Judicial Officer
Barranco, Michael

06/27/2024 Order +

Order Holding Defendant in Constructive Civil Contempt

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/01/2024 Deficient Filing ¥

Deficient Filing

07/01/2024 Deficient Filing +

Deficient Filing

07/01/2024 Deficient Filing +

Deficient Filing

07/02/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

Filed 01/03/25

07/02/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 ¥

Novs Court Ledger Page 6 of 37

Page 33 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document 16-1

MDJ-002 NOTICE OF REJECTED SUBMISSION

07/02/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

07/02/2024 Motion +

Motion

07/02/2024 Supporting Exhibit ¥

Exhibit 1B + 1E UNREDACTED

07/02/2024 Notice Filed +

NOTICE - FORM MDJ-008 - Exhibit 1B

07/02/2024 Notice Filed +

NOTICE - FORM MDJ-008 - Exhibit 1E

07/02/2024 Supporting Exhibit +

Exhibit Series 2 + 4

07/02/2024 Supporting Exhibit +

Exhibit Series 1

07/02/2024 Supporting Exhibit +

Exhibit Series 3

07/02/2024 Supporting Exhibit +

Exhibit Series 5

07/02/2024 Supporting Exhibit »

Exhibit Series 6

07/02/2024 Supporting Document ¥

Exhibit Index

07/02/2024 Deficient Filing ¥

Deficient Filing

Filed 01/03/25

Nov& Court Ledger Page 7 of 37

Page 34 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document 16-1

07/02/2024 Notice Filed ~

FORM MDJ-008 for Exhibit 1V

07/02/2024 Deficient Filing +
Deficient Filing

07/03/2024 Petition for Contempt/Enforcement ¥

Petition for Contempt/Enforcement

07/03/2024 Supporting Exhibit +

Supporting Exhibit - Levett Affidavit

07/05/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/05/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/05/2024 Notice Filed +

Notice of Corrective Filing for Exhibit 1V

07/05/2024 Notice Filed +

Filed 01/03/25

Page 35 of 104

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

07/05/2024 Supporting Exhibit ~

Exhibit 1V REDACTED

07/05/2024 Unredacted Filing +

Exhibit 1V UNREDACTED

07/05/2024 Order - Motion/Request/Petition Denied +

Motion

Judicial Officer
Truffer, Keith R.

07/08/2024 Order - Motion/Request/Petition Granted +

Novs Court Ledger Page & of 37

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Proposed Order / Decree Show Cause

Judicial Officer
Barranco, Michael

07/08/2024 Motion ~

Motion for Extension of Time & Order Denying Motion for Extension of Time

07/08/2024 Supporting Document ¥

Supporting Document - Motion for Extension of Time

07/08/2024 Supporting Exhibit +

Supporting Exhibit - Motion for Extension of Time

07/08/2024 Motion ¥

Order for Motion to Strike Referenced Evidence

07/08/2024 Supporting Document ¥

Supporting Document - Motion to Strike Referenced Evidence

07/08/2024 Supporting Exhibit +

Supporting Exhibit - Motion to Strike Referenced Evidence

07/08/2024 Motion +

Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Supporting Document ¥

Page 36 of 104

Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Notice Filed +

Notice of Filing

07/08/2024 Supporting Document +

Supporting Document to Notice Filed

07/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/08/2024 Order - Motion/Request/Petition Denied +

Nov8 Court Ledger Page 9 of 37

Exhibit 101
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion for Extension of Time & Order Denying Motion for Extension of Time

Judicial Officer
Alexander, Jan
Marshall

07/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/08/2024 Notice Filed +

Notice of Errata

07/08/2024 Motion ¥

Request for Clarification on Denied Motion for Extension of Time
07/10/2024 Affidavit - Service +

Affidavit - Service

07/15/2024 Hearing Notice Issued +

Show Cause/Contempt Hearing Notice

07/15/2024 Returned/Undeliverable Mail ~

Returned/Undeliverable Mail

07/17/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/17/2024 Notice Filed ¥

Notice of Withdrawal of Petition for Contempt (Incarceration)

07/17/2024 Deficient Filing +

Page 37 of 104

Deficient Filing/Env#17252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice

07/17/2024 Supporting Exhibit +

EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations

07/17/2024 Motion +

Motion to Vacate Show Cause Order of June 21 2024

Nov8 Court Ledger Page 10 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

07/17/2024 Motion +

Motion to Vacate Temporary Restraining Order-Denied

07/18/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/18/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

07/20/2024 Motion +

Motion to Amend Motion to Strike Referenced Evidence

07/20/2024 Motion +

Motion to Strike Referenced Evidence

07/20/2024 Supporting Exhibit +

Exhibit 8P-1 - Rule 20-301 - Content of Official Record

07/20/2024 Supporting Exhibit +

Exhibit 8P-2 - Motion to Strike Referenced Evidence v2

07/22/2024 Order - Motion/Request/Petition Denied +

Request for Clarification on Denied Motion for Extension of Time
Judicial Officer

Alexander, Jan
Marshall

07/22/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/23/2024 Attorney Appearance - No Fee +

Attorney Appearance - No Fee

07/23/2024 Opposition +

Opposition to Motion to Strike Referenced Evidence

07/23/2024 Opposition

Nov& Court Ledger Page 11 of 37

Page 38 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman

07/24/2024 Order ¥

Order-Strike Show Cause Order

Judicial Officer
Barranco, Michael

07/24/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

07/25/2024 Exhibits / Records Returned +

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS

07/25/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/30/2024 Order - Motion/Request/Petition Denied +

Order for Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
Jr.

07/30/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/02/2024 Order - Motion/Request/Petition Denied +

Order - Motion to Strike Exhibit B

Judicial Officer
Stringer, H. Patrick,
Jr.

08/02/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/07/2024 Hearing - Contempt *

Show Cause/Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Nov8 Court Ledger Page 12 of 37

Page 39 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Hearing Time
01:00 PM

Cancel Reason
Cancelled/Vacated

08/09/2024 Order - Motion/Request/Petition Denied +

Mation to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
Jr.

08/09/2024 Order - Motion/Request/Petition Denied +

Motion to Amend Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick,
Jr.

08/09/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/09/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/20/2024 Request - Order of Default +

Request - Order of Default

08/20/2024 Supporting Exhibit +

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit ¥

Exhibit 2 - Affidavit of Non-Military Status

08/20/2024 Request - Order of Default +

Request - Order of Default

08/20/2024 Supporting Exhibit +

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit +

Nov8 Court Ledger Page 13 of 37

Page 40 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Exhibit 2 - Affidavit of Non-Military Status

08/20/2024 Opposition +

Opposition to Request for Order of Default Against Ryan Dillon-Capps

08/20/2024 Supporting Exhibit ¥

Exhibit 1 - Opposition to Request for Entry of Order of Default

08/21/2024 Order - Motion/Request/Petition Moot ¥

Motion to Vacate Show Cause Order of June 21 2024

Judicial Officer
Mayer, Stacy A.

08/21/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/21/2024 Order - Motion/Request/Petition Denied +

Motion to Vacate Temporary Restraining Order-Denied

Judicial Officer
Mayer, Stacy A.

08/21/2024 Order - Motion/Request/Petition Granted +

CC-DR-054JO ORDER OF DEFAULT

Judicial Officer
Battista, Andrew

08/21/2024 Notice of Default Order Issued ¥

CC-CV-008 NOTICE OF DEFAULT ORDER

08/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

08/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

08/26/2024 Motion / Request - To Dismiss ¥

Motion/Request - To Dismiss

Novs Court Ledger Page 14 of 37

Page 41 of 104

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

08/26/2024 Memorandum +

Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf

09/09/2024 Opposition +

Opposition to Defendant's Motion to Dismiss

09/17/2024 Order - Motion/Request/Petition Denied »

Order denying Motion to Dismiss

Judicial Officer
Stringer, H. Patrick,
Jr.

09/17/2024 Writ /Summons/Pleading - Electronic Service

Writ/Summons/Pleading Electronic Service

09/20/2024 Motion - Vacate Order of Default +

Motion - Vacate Order of Default

09/23/2024 Opposition +

Opposition to Defendant Motion to Vacate Order of Default

09/23/2024 Line +
Line Regarding Affidavit of Plaintiff's Abuse of the Judicial System

09/23/2024 Affidavit +

affidavit_plaintiff_a buse_judicial_system

09/25/2024 Affidavit +

Affidavit of Legal Obligation

09/25/2024 Supporting Exhibit +

Exhibits Affidavit of Legal Obligation

09/25/2024 Motion +

Motion to Strike Opposition of Motion to Vacate Default Order

09/26/2024 Opposition +

Novs Court Ledger Page 15 of 37

Page 42 of 104

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 43 of 104
Opposition to Motion to Strike Plaintiff's Opposition to Motion to Vacate Order of Default
09/27/2024 Motion +
Order denying and Motion for Sanctions
09/27/2024 Affidavit +
Affidavit for Sanctions and Exhibits
09/30/2024 Motion +
Motion to Assert Rights and Request Immediate Rulings
10/01/2024 Line ~
Line-Affidavit-Motion-Rights-Request-Immediate-Rulings
10/01/2024 Affidavit +
Affidavit-Motion-Rights-Request-Immediate-Rulings
10/02/2024 Motion +
Motion to Assert Rights and Request for Immdiate Rulings
10/03/2024 Motion ¥
Order denying Motion to add counsel of record and Motion to Add Counsel of Record
10/04/2024 Affidavit +
Affidavit of Harm
10/04/2024 Line ~

Line Affidavit of Harm

10/05/2024 Notice Filed +

Notice Filed

10/07/2024 Affidavit +

affidavit-financial-urgency + Exhibit 1, 2, 3

10/07/2024 Deficient Filing +

Deficient Filing

Novs Court Ledger Page 16 of 37 Exhibit 10]

Case 1:24-cv-03744-BAH Documenti16-1 Filed 01/03/25 Page 44 of 104

10/08/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE
10/08/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 +

MDJ-002 NOTICE OF REJECTED SUBMISSION

10/08/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/08/2024 Writ /Summons/Pleading - Electronic Service +
WritSummons/Pleading Electronic Service

10/08/2024 Motion ~

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201
10/08/2024 Affidavit +

affidavit-financial-urgency

10/08/2024 Deficient Filing +

Deficient Filing.

10/08/2024 Notice of Deficiency - Rule 20-203(d) +

Notice of Deficiency and Order Striking Deficient Submission

10/08/2024 Writ /Summons/Pleading - Electronic Service +
WritSummons/Pleading Electronic Service

10/08/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 +
Submission Revd &amp; Rejected for Non-Compliance Rules Title 20
10/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/08/2024 Motion - Campel +

Motion - Compel And Order

Nov& Court Ledger Page 17 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

10/08/2024 Deficient Filing +

Deficient Filing

10/08/2024 Request for Hearing/Trial +
third-request-admin-hearing

10/09/2024 Notice of Deficiency - Rule 20-203(d) +
CC-DC-094 MDEC DEFICIENCY NOTICE

10/09/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/09/2024 Deficient Filing ~

Deficient Filing

10/10/2024 Notice of Deficiency - Rule 20-203(d) ¥

CC-DC-094 MDEC DEFICIENCY NOTICE

10/10/2024 Writ /‘Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/11/2024 Judge's Order ¥

third-request-admin-hearing

Judicial Officer
Finifter, Michael J.
10/11/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

10/11/2024 Opposition ¥

Page 45 of 104

Plaintiffs Opposition to Defendant's Motion to Assert Rights and Request Immediate Rulings

10/11/2024 Opposition ~

Plaintiffs Opposition to Defendant's Motion to Add Counsel of Record

10/11/2024 Opposition ¥

Nov Court Ledger Page 18 of 37

Exhibit 101]

Case 1:24-cv-03744-BAH Document 16-1

Plaintiffs Opposition to Defendant's Motion to Motion to Compel
10/11/2024 Deficient Filing ¥

Deficient Filing

10/11/2024 Motion for Special Assignment +
Request for Special Assignment

10/11/2024 Motion ¥

Motion for Expedited Discovery

10/14/2024 Opposition +

Opposition to Defendant's Motion for Sanctions
10/15/2024 Notice of Deficiency - Rule 20-203(d) +
Notice of Deficiency - Rule 20-203(d)

10/15/2024 Writ /Summons/Pleading - Electronic Service ~
Writ/Summons/Pleading Electronic Service
10/15/2024 Return/Affidavit of Served Subpoena ¥
Return/Affidavit of Served Subpoena

10/15/2024 Return/Affidavit of Served Subpoena +
Return/Affidavil of Served Subpoena

10/15/2024 Affidavit »

affidavit-bad-faith

10/15/2024 Memorandum +

memo-law-reciprical

10/15/2024 Motion +

Order/motion-disqualify-counsel

10/15/2024 Motion to Expedite +

motion-exped ite-hearing-admin-judge-order

Nov8s Court Ledger Page 19 of 37

Filed 01/03/25

Page 46 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Documenti16-1 Filed 01/03/25 Page 47 of 104

10/15/2024 Motion +
Order/motion-injunction-compensation

10/15/2024 Motion +
Order/motion-strike-bad-faith-opposition
10/15/2024 Motion +
Order/motion-strike-opposition-motion-add-counsel
10/15/2024 Motion +
Order/motion-strike-opposition-motion-compel

10/16/2024 Order - Motion/Request/Petition Granted +

Motion - Vacate Order of Default

Judicial Officer
Stringer, H. Patrick,
Jr.

10/16/2024 Writ /Summons/Pleading - Electronic Service ¥
Writ/Summons/Pleading Electronic Service
10/16/2024 Order - Motion/Request/Petition Denied +

Order-Motion to Expedite Hearing Denied

Judicial Officer
ROBINSON,
DENNIS MICHAEL,
Jr.

10/16/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

10/16/2024 Affidavit ~

Affidavit of Crayons

10/17/2024 Affidavit +

affidavit-contract-modifications-motion for reconsideration

10/17/2024 Motion - Reconsideration +

Nov& Court Ledger Page 20 of 37 Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

request-reconsdier-enforcement-admin-judge-ruling-20241011

10/18/2024 Order - Motion/Request/Petition Moot +

Motion to Strike Opposition of Motion to Vacate Default Order

Judicial Officer
Stringer, H. Patrick,
Jr.

10/18/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/18/2024 Stricken Filing ¥

Stricken Filing

10/18/2024 Motion ¥

motion-allow-prose-rep-lic

10/18/2024 Motion/Request for Protective Order ¥

Plaintiff's Motion for Protective Order

10/18/2024 Line

Line

10/18/2024 Opposition +

Plaintiffs Opposition to Motion for Expedited Discovery

10/21/2024 Notice of Striking Non-Compliant Submission ¥

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION

10/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/21/2024 Order - Motion/Request/Petition Denied +

Proposed Order / Decree

Judicial Officer
Mayer, Stacy A.

10/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Nov8 Court Ledger Page 21 of 37

Page 48 of 104

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service

10/22/2024 Order - Motion/Request/Petition Denied +

Order denying and Motion for Sanctions

Judicial Officer
Stringer, H. Patrick,
Jr.

10/22/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/22/2024 Order - Motion/Request/Petition Denied ¥

Order denying defendant's Motion for expedited discovery

Judicial Officer
Mayer, Stacy A.

10/22/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/22/2024 Affidavit ~

Affidavit of Exhibits

10/22/2024 Affidavit +

Affidavit of Writing Analysis

10/22/2024 Motion ¥

Amended Motion for Mandatory Injunction to Restore Lost Pay

10/22/2024 Motion/Request ¥

Motion/Request - Deposition Request for Agents of Ohana Growth Partners

10/22/2024 Memorandum +

Memorandum in Support of Reciprocal Attorney's Fees for Prevailing Defendants

10/22/2024 Motion - Compel ¥

Motion to Compel Productions to Support Claims at Hearing

10/22/2024 Motion +

Nov8 Court Ledger Page 22 of 37

Page 49 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion for Early Discovery

10/22/2024 Motion - Limine ¥

Page 50 of 104

Motion in Limine to Exclude Claims, Statements and Affirmations not supported by evidence

10/22/2024 Line ¥

Notice of Line Filing

10/22/2024 Opposition +

oppose-schedule-conference

10/23/2024 Submission Rcvd & Rejected for Non-Compliance Rules Title 20 +

MDJ-002 NOTICE OF REJECTED SUBMISSION

10/23/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/23/2024 Motion ¥

motion-better-maryland-recipricol-relief-oct23

10/23/2024 Motion +

motion-dismiss-prejudice-"June 13th"

10/23/2024 Motion ¥

motion-disqualify-milesstockbridge-oct23

10/23/2024 Motion +

motion-injunctive-prevent-abuse-oct23

10/23/2024 Motion ¥

motion-referral-criminal-ethical-investigation-oct23

10/23/2024 Motion +

motion-sanctions-not-sanction

10/23/2024 Motion +

motion-vacate-tro-oct23

Nov& Court Ledger Page 23 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

10/23/2024 Reply to Opposition ¥

reply-opposition-expedited-discovery

10/23/2024 Notice Filed +

Notice of withdrawal of Notice of Deposition of Baltimore Business Journal

10/23/2024 Notice Filed ~

Page 51 of 104

Notice of withdrawal of Subpoena Duces Tecum for Documents to Baltimore B usiness Journal

10/23/2024 Notice Filed ¥

Notice of withdrawal of Proposed Orders for Motion for Sanctions

10/24/2024 Order - Motion/Request/Petition Denied +

Order - Motion to Assert Rights and Request for Immediate Rulings

Judicial Officer
Barranco, Michael

10/24/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/24/2024 Order - Motion/Request/Petition Denied +

Order denying Motion to add counsel of record and Motion to Add Counsel of Record

Judicial Officer
Stringer, H. Patrick,
Jr.

10/24/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

10/24/2024 Dismissal - Voluntary ¥

Order - Notice of Voluntary Dismissal

10/25/2024 Order - Motion/RequestPetition Denied +

Motion to Assert Rights and Request for Immdiate Rulings

Judicial Officer
Stringer, H. Patrick,
Jr.

Nov’ Court Ledger Page 24 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 52 of 104

10/25/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/25/2024 Order +

Notice of Deficiency and Order Striking Deficient Submission

Judicial Officer
Finifter, Michael J.

10/25/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

10/25/2024 Supporting Exhibit +

Supporting Exhibit 1- 1F7/Motion to Strike Notice of Voluntary Dismissal
10/25/2024 Motion ¥

Motion to Strike Notice of Voluntary Dismissal

10/25/2024 Opposition ¥

Plaintiffs Opposition to Defendant's Motion to Strike Notice of Voluntary Dismissal
10/25/2024 Motion +

motion-sanctions-20241025

10/28/2024 Affidavit +

amended-affidavit-abussive-use-judicial-system

10/28/2024 Motion - Reconsideration *

Motion - Reconsideration

10/28/2024 Stricken Filing ~

Stricken Filing

10/28/2024 Notice of Striking Non-Compliant Submission ¥

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION

10/28/2024 Writ /Summons/Pleading - Electronic Service ¥

Nov8 Court Ledger Page 25 of 37 Exhibit 101

Case 1:24-cv-03744-BAH Documenti16-1 Filed 01/03/25 Page 53 of 104
Writ/Summons/Pleading Electronic Service
10/28/2024 Motion ¥
motion-amend-affidavit-abusive-use
10/29/2024 Order - Motion/Request/Petition Denied v

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201

Judicial Officer
Stringer, H. Patrick,
Jr.

40/29/2024 Writ /Summons/Pleading - Electronic Service ¥
Writ/Summons/Pleading Electronic Service

10/30/2024 Motion +

Motion for Emergency Administrative Review

10/30/2024 Motion ~

Request for Clarification of October 10th and 28th Rulings
10/30/2024 Opposition +
opposition-notice-voluntary-dismissal

10/31/2024 Opposition +

Opposition to Motion for Sanctions

11/01/2024 Affidavit +

Amended Affidavit for Motion to Assert Rights and Request for Immediate Rulings
11/01/2024 Notice Filed +

Notice Filed of Line filing for directed verdict

11/01/2024 Motion +

Motion for Directed Verdict

11/01/2024 Request for Hearing/Trial +

Request for Hearing

Nov8 Court Ledger Page 26 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 54 of 104

11/01/2024 Request for Hearing/Trial ¥

prehearing-conference-injunctive-relief

11/01/2024 Motion to Expedite +

motion-expedite-prehearing-conference-injunctive-relief

11/04/2024 Motion +

Amended Motion for Sanctions

11/04/2024 Motion ¥

Amended Motion to Strike Notice of Voluntary Dismissal

11/04/2024 Motion +

Motion to Withdraw the original Motion for Sanctions on 10/25/24

11/04/2024 Motion +

Motion to Withdraw the Original Motion to Strike Notice of Voluntary Dismissal filed on 10/25/24

11/04/2024 Reply to Opposition ¥

Reply to Plaintiffs Opposition to Defendant's Motion for Sanctions

{1/84/2024 Memorandum +¥

Memersndum of Law in Support of Mandatory Hearing of Adjudicated Facts

11/04/2024 Notice Filed +
Notice of Line Filing on 11/4/24 with Memorandum of Law in Support of Mandatory Hearing

11/04/2024 Motion +

motion-consolidate-prevent-framework

11/05/2024 Memorandum ¥

memo-law-perseverare-autum-diabolicum

11/06/2024 Order - Motion/Request/Petition Granted +

Order - Notice of Voluntary Dismissal

Novs Court Ledger Page 27 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document 16-1

Judicial Officer
Stringer, H. Patrick,
Jr.

11/06/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

11/06/2024 Order - Motion/Request/Petition Moot »

Order/motion-disqualify-counsel

Judicial Officer
Stringer, H. Patrick,
Jr.

11/06/2024 Order - Motion/Request/Petition Denied +

Order/motion-injunction-compensation

Judicial Officer
Stringer, H. Patrick,
Jr.

11/06/2024 Order - Motion/Request/Petition Denied +

Order/motion-strike-bad-faith-opposition

Judicial Officer
Stringer, H. Patrick,
Jr.

11/06/2024 Order - Motion/Request/Petition Moot +

Order/motion-strike-opposition-motion-add-counsel

Judicial Officer
Stringer, H. Patrick,
dr.

11/06/2024 Order - Motion/Request/Petition Moot ¥

Order/motion-strike-opposition-motion-compel

Judicial Officer
Stringer, H. Patrick,
Jr.

11/06/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading - Confidential Electronic Service

11/06/2024 Writ /Summons/Pleading - Electronic Service ¥

Filed 01/03/25

Novs Court Ledger Page 28 of 37

Page 55 of 104

Exhibit 101
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service

11/06/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

41/06/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

41/06/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

11/07/2024 Judicial Notation on Filing +

Motion - Compel And Order

Judicial Officer
ROBINSON,

DENNIS MICHAEL,
Jr.

11/07/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

11/07/2024 Order - Motion/Request/Petition Denied +

request-reconsdier-enforcement-admin-judge-ruling-2024 1011

Judicial Officer
ROBINSON,
DENNIS MICHAEL,
dr.

11/07/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

11/07/2024 Order - Motion/Request/Petition Denied ¥

Order - Motion for Emergency Administrative Review

Judicial Officer
ROBINSON,
DENNIS MICHAEL,
Jr.

41/07/2024 Writ /Summons/Pleading - Electronic Service ~

Writ/Summons/Pleading Electronic Service

Novs Court Ledger Page 29 of 37

Page 56 of 104

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

11/07/2024 Notice Filed ¥

notice-defer-final-cost-pending-documentation

11/07/2024 Motion ¥

Motion to Defer Finalization of costs Pending full cost documentation

11/07/2024 Motion ¥

motion-preserve-court-recards

Documents

Complaint / Petition

Case Information Report Filed

Motion for TRO and Injunctive Relief
Memorandum of Law in Support of

Supporting Exhibit 1 - Hartment Affidavit
Supporting Exhibit 2 - Drummond Affidavit
Supporting Exhibit 3 - 1998 Legislative History
Order - Motion for Temporary Restraining Order
Certificate of Notice Regarding Motion for Temporary Restraining Order
CC-CV-032 WRIT OF SUMMONS
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Line

CC-008 NOTICE OF HEARING/TRIAL

CC-008 NOTICE OF HEARING/TRIAL

CC-008 NOTICE OF HEARING/TRIAL
Writ/Summons/Pleading Electronic Service
Affidavit - Service

Order and Correspondence to Judge Truffer

Petition for Contempt/Enforcement

Nov8 Court Ledger Page 30 of 37

Page 57 of 104

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Order - Show Cause

Writ/Summons/Pleading Electronic Service
Writ’Summons/Pleading Electronic Service

Line regarding affidavit of Randall Romes
Affidavit of Randall J. Romes

Contempt Hearing Notice

Hearing Sheet

Order Granting Preliminary Injunction
Writ'Summons/Pleading Electronic Service
Hearing Sheet

Order Holding Defendant in Constructive Civil Contempt
WritSummons/Pleading Electronic Service
Plaintiffs Ex. 1 - Email and Order to Appear and Show Cause
Plaintiff's Ex. 2 - Exhibit 1 Forwarded to the Defendant
Deficient Filing

Deficient Filing

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
Writ/Summons/Pleading Electronic Service
MDJ-002 NOTICE OF REJECTED SUBMISSION
WritvSummons/Pleading Electronic Service
Petition for Contempt/Enforcement

Supporting Exhibit - Levett Affidavit

Proposed Order / Decree Show Cause

Motion

Exhibit 1B + 1E UNREDACTED

NOTICE - FORM MDJ-008 - Exhibit 1B

NOTICE - FORM MDJ-008 - Exhibit 1£

Exhibit Series 2 + 4

Exhibit Series 1

Exhibit Series 3

Exhibit Series 5

Exhibit Series 6

Exhibit Index

Deficient Filing

FORM MDJ-008 for Exhibit 1V

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
CC-DC-094 MDEC DEFICIENCY NOTICE
Notice of Corrective Filing for Exhibit 1V

Page 58 of 104

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

Nov8& Court Ledger Page 31 of 37

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 59 of 104

Exhibit 1V REDACTED

Exhibit 1V UNREDACTED

Motion for Extension of Time & Order Denying Motion for Extension of Time
Supporting Document - Motion for Extension of Time

Supporting Exhibit - Motion for Extension of Time

Order for Motion to Strike Referenced Evidence

Supporting Document - Motion to Strike Referenced Evidence

Supporting Exhibit - Motion to Strike Referenced Evidence

Motion to Strike Exhibit B From The Affidavit of Richard Hartman

Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman
Notice of Filing

Supporting Document to Notice Filed

WritSummons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Notice of Errata

Request for Clarification on Denied Motion for Extension of Time

Affidavit - Service

Show Cause/Contempt Hearing Notice

Returned/Undeliverable Mail

Writ/Summons/Pleading Electronic Service

Notice of Withdrawal of Petition for Contempt (Incarceration)

Order-Strike Show Cause Order

Deficient Filing/Env#17252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice
EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations
CC-DC-094 MDEC DEFICIENCY NOTICE

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Motion to Amend Motion to Strike Referenced Evidence

Motion to Strike Referenced Evidence

Exhibit 8P-1 - Rule 20-301 - Content of Official Record

Exhibit 8P-2 - Motian to Strike Referenced Evidence v2

Attorney Appearance - No Fee

Opposition to Motion to Strike Referenced Evidence

Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman
Order - Motion to Strike Exhibit B

Writ/Summons/Pleading Electronic Service

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Motion to Vacate Show Cause Order of June 21 2024

Nov& Court Ledger Page 32 of 37

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion to Vacate Temporary Restraining Order-Denied
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service

Request - Order of Default

Exhibit 1 - Affidavit of Process Server

Exhibit 2 - Affidavit of Non-Military Status

CC-DR-054JO ORDER OF DEFAULT

Writ/Summons/Pleading Electronic Service

Opposition to Request for Order of Default Against Ryan Dillon-Capps
Exhibit 1 - Opposition to Request for Entry of Order of Default
Writ/Summons/Pleading Electronic Service

CC-CV-008 NOTICE OF DEFAULT ORDER
Writ/Summons/Pleading Electronic Service

Motion/Request - To Dismiss

Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf
Order denying Motion to Dismiss

Opposition to Defendant's Motion to Dismiss
Writ/Summons/Pleading Electronic Service

Motion - Vacate Order of Default

Opposition to Defendant Motion to Vacate Order of Default

Line Regarding Affidavit of Plaintiff's Abuse of the Judicial System
affidavit_plaintiff_abuse_judicial_system

Affidavit of Legal Obligation

Exhibits Affidavit of Legal Obligation

Motion to Strike Opposition of Motion to Vacate Default Order

Opposition to Motion to Strike Plaintiffs Opposition to Motion to Vacate Order of Default

Order denying and Motion for Sanctions

Affidavit for Sanctions and Exhibits

Motion to Assert Rights and Request Immediate Rulings
Line-Affidavit-Motion-Rights-Request-Immediate-Rulings
Affidavit-Motion-Rights-Request-Immediate-Rulings
Motion to Assert Rights and Request for Immdiate Rulings
Order denying Motion to add counsel of record and Motion to Add Counsel of Record
Affidavit of Harm

Line Affidavit of Harm

Notice Filed

affidavit-financial-urgency + Exhibit 1, 2, 3

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE

MDJ-002 NOTICE OF REJECTED SUBMISSION

Writ/Summons/Pleading Electronic Service

Novs Court Ledger Page 33 of 37

Page 60 of 104

Exhibit 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 61 of 104

Writ’Summons/Pleading Electronic Service

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201
affidavit-financial-urgency

Deficient Filing.

Notice of Deficiency and Order Striking Deficient Submission
Writ/Summons/Pleading Electronic Service

Submission Revd &amp; Rejected for Non-Compliance Rules Title 20
Writ/Summons/Pleading Electronic Service

Motion - Compel And Order

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE

Writ/Summons/Pleading Electronic Service

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE

Writ/Summons/Pleading Electronic Service
third-request-admin-hearing

WritSummons/Pleading Electronic Service

Plaintiff's Opposition to Defendant's Motion to Assert Rights and Request Immediate Rulings
Plaintiffs Opposition to Defendant's Motion to Add Counsel of Record
Plaintiffs Opposition to Defendant's Motion to Motion to Compel
Deficient Filing

Notice of Deficiency - Rule 20-203(d)

Writ/Summons/Pleading Electronic Service

Request for Special Assignment

Proposed Order / Decree

Motion for Expedited Discovery

Opposition to Defendant's Motion for Sanctions

Order-Motion to Expedite Hearing Denied

Writ'Summons/Pleading Electronic Service

Return/Affidavit of Served Subpoena

Return/Affidavit of Served Subpoena

affidavit-bad-faith

memo-law-reciprical

Order/motion-disqualify-counsel
motion-expedite-hearing-admin-judge-order
Order/motion-injunction-compensation
Order/motion-strike-bad-faith-opposition
Order/motion-strike-opposition-motion-add-counsel
Order/motion-strike-opposition-motion-compel
Writ/Summons/Pleading Electronic Service

Affidavit of Crayons

Nov8 Court Ledger Page 34 of 37 Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 62 of 104

affidavit-contract-modifications-motion for reconsideration
request-reconsdier-enforcement-admin-judge-ruling-20241011
Writ/Summons/Pleading Electronic Service

Stricken Filing

motion-allow-prose-rep-lic

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION
Writ/Summons/Pleading Electronic Service

Plaintiffs Motion for Protective Order

Writ/Summons/Pleading Electronic Service

Line

Plaintiffs Opposition to Motion for Expedited Discovery

Order denying defendant's Motion for expedited discovery
WrivSummons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Affidavit of Exhibits

Affidavit of Writing Analysis

Amended Motion for Mandatory Injunction to Restore Lost Pay
Motion/Request - Deposition Request for Agents of Ohana Growth Partners
Memorandum in Support of Reciprocal Attorney's Fees for Prevailing Defendants
Motion to Compel Productions to Support Claims at Hearing

Motion for Early Discovery

Motion in Limine to Exclude Claims, Statements and Affirmations not supported by evidence
Notice of Line Filing

oppose-schedule-conference

MDJ-002 NOTICE OF REJECTED SUBMISSION

Writ/Summons/Pleading Electronic Service

Order - Motion to Assert Rights and Request for Immediate Rulings
motion-better-maryland-recipricol-relief-oct23
motion-dismiss-prejudice-"June 13th"
motion-disqualify-milesstockbridge-oct23
motion-injunctive-prevent-abuse-oct23
motion-referral-criminal-ethical-investigation-oct23
motion-sanctions-not-sanction

motion-vacate-tro-oct23

reply-opposition-expedited-discovery

WritSummons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Notice of withdrawal of Notice of Deposition of Baltimore Business Journal
Notice of withdrawal of Subpoena Duces Tecum for Documents to Baltimore B usiness Journal
Notice of withdrawal of Proposed Orders for Motion for Sanctions

Order - Notice of Voluntary Dismissal

Novs Court Ledger Page 35 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Supporting Exhibit 1- 1F7/Motion to Strike Notice of Voluntary Dismissal
Motion to Strike Notice of Voluntary Dismissal

Plaintiff's Opposition to Defendant's Motion to Strike Notice of Voluntary Dismissal
motion-sanctions-2024 1025
amended-affidavit-abussive-use-judicial-system

Motion - Reconsideration

Stricken Filing

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION
Writ/Summons/Pleading Electronic Service
motion-amend-affidavit-abusive-use

Writ/Summons/Pleading Electronic Service

Motion for Emergency Administrative Review

Order - Motion for Emergency Administrative Review

Request for Clarification of October 10th and 28th Rulings
opposition-notice-voluntary-dismissal

Opposition to Motion for Sanctions

Amended Affidavit for Motion to Assert Rights and Request for Immediate Rulings
Notice Filed of Line filing for directed verdict

Motion for Directed Verdict

Request for Hearing

prehearing-conference-injunctive-relief
motion-expedite-prehearing-conference-injunctive-relief
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading - Confidential Electronic Service
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service
memo-law-perseverare-autum-diabolicum

Amended Motion for Sanctions

Amended Motion to Strike Notice of Voluntary Dismissal

Motion to Withdraw the original Motion for Sanctions on 10/25/24

Page 63 of 104

Motion to Withdraw the Original Motion to Strike Notice of Voluntary Dismissal filed on 10/25/24

Reply to Plaintiffs Opposition to Defendant's Motion for Sanctions

Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts

Notice of Line Filing on 11/4/24 with Memorandum of Law in Support of Mandatory Hearing

motion-consolidate-prevent-framework
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Nov8 Court Ledger Page 36 of 37

Exhibit 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 64 of 104

Writ/Summons/Pleading Electronic Service
notice-defer-final-cost-pending-documentation
Motion to Defer Finalization of costs Pending full cost documentation

motion-preserve-court-records

Nov8& Court Ledger Page 37 of 37 Exhibit 101

Case 1:24-cv-03744-BAH Document 16-1

Case Information

C-03-CV-24-002264 | Ohana Growth Partners, LLC vs. Ryan Dillon-Capps

Case Number
C-03-CV-24-002264
File Date
06/14/2024

Party

Plaintiff
Ohana Growth Pariners, LLC

Address
212 West Padonia Road
Timonium MD 21093

Interested Person/ Party (Participant)

Wagner, Ryan

Address
1334 Maple Ave
Essex MD 21221

Court

Baltimore County Circuit Court
Case Type

Injunction

Dec15 Court Ledger Page | of 40

Filed 01/03/25

Case Status
Closed

Active Attorneys ¥
Attorney

Klein, Victoria
Retained

Lead Attorney
BRENNEN, ROBERT SCOTT
Retained

Attorney
Duvall, Jessica Lynne
Retained

Attorney
Frenkil, Steven D
Retained

Page 65 of 104

Exhibt 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Defendant
Dillon-Capps, Ryan

Address
1334 Maple Avenue
Essex MD 21221

Events and Hearings

06/14/2024 Summons Issued ¥

Requested By
Ohana Growth Partners, LLC

Served
06/17/2024

06/14/2024 Complaint / Petition +
Complaint / Petition

06/14/2024 Case Information Report Filed ¥
Case Information Report Filed

06/14/2024 Motion +

Motion for TRO and Injunctive Relief

06/14/2024 Memorandum +

Memorandum of Law in Support of

06/14/2024 Supporting Exhibit +

Supporting Exhibit 1 - Hartment Affidavit

06/14/2024 Supporting Exhibit +

Supporting Exhibit 2 - Drummond Affidavit

06/14/2024 Supporting Exhibit +

Dee15 Court Ledger Page 2 of 40

Page 66 of 104

Exhibti 101
|

Case 1:24-cv-03744-BAH Document 16-1

Supporting Exhibit 3 - 1998 Legislative History

06/14/2024 Notice Filed

Certificate of Notice Regarding Motion for Temporary Restraining Order

06/14/2024 Summons Issued (Service Event) ¥

CC-CV-032 WRIT OF SUMMONS

06/14/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

06/17/2024 Order - Motion/Request/Petition Granted ¥

Order - Motion for Temporary Restraining Order

Judicial Officer
DeSimone, Marc A, Jr.

06/17/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

06/17/2024 Line +

Line

06/17/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

06/18/2024 Affidavit - Service ¥

Affidavit - Service

06/18/2024 Correspondence +

Order and Correspondence to Judge Truffer

06/20/2024 Petition for ContemptEnforcement +

Petition for Contempt/Enforcement

06/21/2024 Show Cause Order
Requested By
Ohana Growth Partners, LLC

Served
07/08/2024

Dec!5 Court Ledger Page 3 of 40

Filed 01/03/25

Page 67 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

06/21/2024 Order - Motion/Request/Petition Denied +

Order and Correspondence to Judge Truffer

Judicial Officer
Truffer, Keith R.

06/21/2024 Order - Show Cause Issued ¥

Order - Show Cause

Judicial Officer
Truffer, Keith R.

06/21/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/21/2024 Writ /Summons/Pleading - Electronic Service +

WrivSummons/Pleading Electronic Service

06/25/2024 Line +

Line regarding affidavit of Randall Romes

06/25/2024 Affidavit ~

Affidavit of Randall J. Romes

06/26/2024 Hearing - Injunction +
Original Type

Hearing - Injunction

CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL
CC-008 NOTICE OF HEARING/TRIAL

Judicial Officer
Barranco, Michael

Hearing Time
9:00 AM

Result
Continued

Parties Present
Plaintiff: Ohana Growth Partners, LLC

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

Decl5 Court Ledger Page 4 of 40

Page 68 of 104

Exhibu 10]

Case 1:24-cv-03744-BAH Document 16-1

06/26/2024 Hearing Sheet ¥

Hearing Sheet

Judicial Officer
Barranco, Michael

06/26/2024 Hearing Notice Issued ¥

Contempt Hearing Notice

06/27/2024 Hearing - Contempt ¥
Original Type

Hearing - Contempt

Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Hearing Time
01:00 PM

Result
Concluded / Held

Parties Present «
Plaintiff: Ohana Growth Partners, LLC

Attorney: Klein, Victoria
Attorney: BRENNEN, ROBERT SCOTT

Defendant: Dillon-Capps, Ryan

06/27/2024 Order - Motion/Request/Petition Granted +

Order Granting Preliminary Injunction

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

06/27/2024 Hearing Sheet +

Hearing Sheet

Judicial Officer
Barranco, Michael

06/27/2024 Order +

Order Holding Defendant in Constructive Civil Contempt

Filed 01/03/25

Deel5 Court Ledger Page 5 of 40

Page 69 of 104

Exhibti 101
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 70 of 104

Judicial Officer
Barranco, Michael

06/27/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service
07/01/2024 Deficient Filing +

Deficient Filing

07/01/2024 Deficient Filing

Deficient Filing

07/01/2024 Deficient Filing +

Deficient Filing

07/02/2024 Notice of Deficiency - Rule 20-203(d) +
CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Notice of Deficiency - Rule 20-203(d) +
CC-DC-094 MDEC DEFICIENCY NOTICE
07/02/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

07/02/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/02/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 ¥
MDJ-002 NOTICE OF REJECTED SUBMISSION

07/02/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

07/02/2024 Motion +

Motion

07/02/2024 Supporting Exhibit +

Exhibit 1B + 1E UNREDACTED

Dec15 Court Ledger Page 6 of 40 Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

07/02/2024 Notice Filed v

NOTICE - FORM MDJ-008 - Exhibit 1B

07/02/2024 Notice Filed +

NOTICE - FORM MDJ-008 - Exhibit 1E

07/02/2024 Supporting Exhibit +

Exhibit Series 2 + 4

07/02/2024 Supporting Exhibit +

Exhibit Series 1

07/02/2024 Supporting Exhibit +

Exhibit Series 3

07/02/2024 Supporting Exhibit +

Exhibit Series 5

07/02/2024 Supporting Exhibit +

Exhibit Series 6

07/02/2024 Supporting Document ¥

Exhibit Index

07/02/2024 Deficient Filing +

Deficient Filing

07/02/2024 Notice Filed +

FORM MDJ-008 for Exhibit 1V

07/02/2024 Deficient Filing ~

Deficient Filing

07/03/2024 Petition for Contempt/Enforcement ¥

Petition for Contempt/Enforcement

07/03/2024 Supporting Exhibit +

Decl5 Court Ledger Page 7 of 40

Page 71 of 104

Exhibti 10]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 72 of 104
Supporting Exhibit - Levett Affidavit
07/05/2024 Notice of Deficiency - Rule 20-203(d) ¥
CC-DC-094 MDEC DEFICIENCY NOTICE
07/05/2024 Notice of Deficiency - Rule 20-203(d) ¥
CC-DC-094 MDEC DEFICIENCY NOTICE
07/05/2024 Notice Filed ~
Notice of Corrective Filing for Exhibit 1V
07/05/2024 Notice Filed +
MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

07/05/2024 Supporting Exhibit +

Exhibit 1V REDACTED

07/05/2024 Unredacted Filing +

Exhibit 1¥V UNREDACTED

07/05/2024 Order - Motion/Request/Petition Denied +

Motion

Judicial Officer
Truffer, Keith R.

07/08/2024 Order - Motion/Request/Petition Granted +

Proposed Order / Decree Show Cause

Judicial Officer
Barranco, Michael

07/08/2024 Motion +
Motion for Extension of Time & Order Denying Motion for Extension of Time
07/08/2024 Supporting Document +

Supporting Document - Motion for Extension of Time

07/08/2024 Supporting Exhibit ~

Supporting Exhibit - Motion for Extension of Time

Decl5 Court Ledger Page & of 40

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

07/08/2024 Motion +

Order for Motion to Strike Referenced Evidence

07/08/2024 Supporting Document +

Supporting Document - Motion to Strike Referenced Evidence

07/08/2024 Supporting Exhibit ¥

Supporting Exhibit - Motion to Strike Referenced Evidence

07/08/2024 Motion ¥

Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Supporting Document +

Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman

07/08/2024 Notice Filed +

Notice of Filing

07/08/2024 Supporting Document +

Supporting Document to Notice Filed

07/08/2024 Writ ‘Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service
07/08/2024 Order - Motion/Request/Petition Denied +

Motion for Extension of Time & Order Denying Motion for Extension of Time

Judicial Officer
Alexander, Jan
Marshall

07/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/08/2024 Notice Filed +

Notice of Errata

07/08/2024 Motion ~

Dec15 Court Ledger Page 9 of 40

Page 73 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1 Filed 01/03/25 Page 74 of 104

Request for Clarification on Denied Motion for Extension of Time
07/10/2024 Affidavit - Service +

Affidavit - Service

07/15/2024 Hearing Notice Issued +

Show Cause/Contempt Hearing Notice

07/15/2024 Returned/Undeliverable Mail +

Returned/Undeliverable Mail

07/17/2024 Writ /‘Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/17/2024 Notice Filed +

Notice of Withdrawal of Petition for Contempt (Incarceration)

07/17/2024 Deficient Filing +

Deficient Filing/Env#1 7252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice
07/17/2024 Supporting Exhibit +

EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations
07/17/2024 Motion +

Motion to Vacate Show Cause Order of June 21 2024

07/17/2024 Motion +

Motion to Vacate Temporary Restraining Order-Denied

07/18/2024 Notice of Deficiency - Rule 20-203(d) ¥

CC-DC-094 MDEC DEFICIENCY NOTICE

07/18/2024 Writ /Summons/Pleading - Electronic Service

WritSummons/Pleading Electronic Service

07/20/2024 Motion +

Motion to Amend Motion to Strike Referenced Evidence
07/20/2024 Motion ¥

Decl 5 Court Ledger Page 10 of 40

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion to Strike Referenced Evidence

07/20/2024 Supporting Exhibit +

Exhibit 8P-1 - Rule 20-301 - Content of Official Record

07/20/2024 Supporting Exhibit ~

Exhibit 8P-2 - Motion to Strike Referenced Evidence v2

07/22/2024 Order - Motion/Request/Petition Denied ¥

Request for Clarification on Denied Motion for Extension of Time

Judicial Officer
Alexander, Jan
Marshall

07/22/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

07/23/2024 Attorney Appearance - No Fee +

Attorney Appearance - No Fee

07/23/2024 Opposition ¥

Opposition to Motion to Strike Referenced Evidence

07/23/2024 Opposition +

Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman

07/24/2024 Order +

Order-Strike Show Cause Order

Judicial Officer
Barranco, Michael

07/24/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

07/25/2024 Exhibits / Records Returned +

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS

07/25/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

Dec15 Court Ledger-Page 11 of 40

Page 75 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 76 of 104

07/30/2024 Order - Motion/Request/Petition Denied +

Order for Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick, Jr.

07/30/2024 Writ /Summons/Pleading - Electronic Service ~

Writ/Summons/Pleading Electronic Service

08/02/2024 Order - Motion/Request/Petition Denied +

Order - Motion to Strike Exhibit B

Judicial Officer
Stringer, H. Patrick, Jr.

08/02/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

08/07/2024 Hearing - Contempt +

Show Cause/Contempt Hearing Notice

Judicial Officer
Barranco, Michael

Hearing Time
01:00 PM

Cancel Reason
Cancelled/Vacated

08/09/2024 Order - Motion/Request/Petition Denied +

Motion to Strike Referenced Evidence

Judicial Officer
Stringer, H. Patrick, Jr.

08/09/2024 Order - Motion/Request/Petition Denied ¥

Motion to Amend Motion to Strike Referenced Evidence
Judicial Officer
Stringer, H. Patrick, Jr.

08/09/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/09/2024 Writ /Summons/Pleading - Electronic Service

Decl5 Court Ledger Page 12 of 40 Exhibu 101

Case 1:24-cv-03744-BAH Document 16-1

Writ/Summons/Pleading Electronic Service

08/20/2024 Request - Order of Default ¥
Request - Order of Default

08/20/2024 Supporting Exhibit ~

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit +

Exhibit 2 - Affidavit of Non-Military Status

08/20/2024 Request - Order of Default +
Request - Order of Default

08/20/2024 Supporting Exhibit ~

Exhibit 1 - Affidavit of Process Server

08/20/2024 Supporting Exhibit +

Exhibit 2 - Affidavit of Non-Military Status

08/20/2024 Opposition +

Opposition to Request for Order of Default Against Ryan Dillon-Capps
08/20/2024 Supporting Exhibit +

Exhibit 1 - Opposition to Request for Entry of Order of Default

08/21/2024 Order - Motion/Request/Petition Moot +

Motion to Vacate Show Cause Order of June 21 2024

Judicial Officer
Mayer, Stacy A.

08/21/2024 Writ /Summons/Pleading - Electronic Service

Writ/Summons/Pleading Electronic Service

08/21/2024 Order - Motion/Request/Petition Denied +

Motion to Vacate Temporary Restraining Order-Denied

Judicial Officer
Mayer, Stacy A.

Decel5 Court Ledger Page 13 of 40

Filed 01/03/25

Page 77 of 104

Exhibu 101

Case 1:24-cv-03744-BAH Document 16-1

08/21/2024 Order - Motion/Request/Petition Granted +

CC-DR-054JO ORDER OF DEFAULT

Judicial Officer
Battista, Andrew

08/21/2024 Notice of Default Order Issued +

CC-CV-008 NOTICE OF DEFAULT ORDER

08/21/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

08/21/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

08/26/2024 Motion / Request - To Dismiss *

Motion/Request - To Disrniss

08/26/2024 Memorandum +

Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf

09/09/2024 Opposition +

Opposition to Defendant's Motion to Dismiss

09/17/2024 Order - Motion/Request/Petition Denied »

Order denying Motion to Dismiss

Judicial Officer
Stringer, H. Patrick, Jr.

09/17/2024 Writ /Summons/Pleading - Electronic Service +

WriSummons/Pleading Electronic Service

09/20/2024 Motion - Vacate Order of Default +

Motion - Vacate Order of Default

09/23/2024 Opposition +

Opposition to Defendant Motion to Vacate Order of Default

09/23/2024 Line +

Dec15 Court Ledger Page 14 of 40

Filed 01/03/25

Page 78 of 104

Exhibti 101
Case 1:24-cv-03744-BAH Document 16-1

Line Regarding Affidavit of Plaintiffs Abuse of the Judicial System

09/23/2024 Affidavit +

affidavit_plaintiff_abuse_judicial_system

09/25/2024 Affidavit +

Affidavit of Legal Obligation

09/25/2024 Supporting Exhibit ¥

Exhibits Affidavit of Legal Obligation

09/25/2024 Motion +

Motion to Strike Opposition of Motion to Vacate Default Order

09/26/2024 Opposition ~

Opposition to Motion to Strike Plaintiffs Opposition to Motion to Vacate Order of Default

09/27/2024 Motion ¥

Order denying and Motion for Sanctions

09/27/2024 Affidavit +

Affidavit for Sanctions and Exhibits

09/30/2024 Motion +

Mation to Assert Rights and Request Immediate Rulings

10/01/2024 Line ¥

Line-Affidavit-Motion-Rights-Request-Ilmmediate-Rulings

10/01/2024 Affidavit +

Affidavit-Motion-Rights-Request-Immediate-Rulings

10/02/2024 Motion +

Motion to Assert Rights and Request for Immdiate Rulings

10/03/2024 Motion ¥

Order denying Motion to add counsel of record and Motion to Add Counsel of Record

10/04/2024 Affidavit +

Decl5 Court Ledger Page 15 of 40

Filed 01/03/25

Page 79 of 104

Exhibu 101

Case 1:24-cv-03744-BAH Document 16-1

Affidavit of Harm

40/04/2024 Line ¥

Line Affidavit of Harm

10/05/2024 Notice Filed +

Notice Filed

40/07/2024 Affidavit +

affidavit-financial-urgency + Exhibit 1, 2,3
40/07/2024 Deficient Filing +

Deficient Filing

40/08/2024 Notice of Deficiency - Rule 20-203(d) *

CC-DC-094 MDEC DEFICIENCY NOTICE

40/08/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 ¥

MDJ-002 NOTICE OF REJECTED SUBMISSION

40/08/2024 Writ /Summons/Pleading - Electronic Service *
WritfSummons/Pleading Electronic Service

10/08/2024 Writ /Summons/Pleading - Electronic Service ¥
Weit/Summons/Pleading Electronic Service

40/08/2024 Motion ¥

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201
10/08/2024 Affidavit ~

affidavit-financial-urgency

10/08/2024 Deficient Filing

Deficient Filing.

10/08/2024 Notice of Deficiency - Rule 20-203(d) *

Notice of Deficiency and Order Striking Deficient Submission
10/08/2024 Writ /Summons/Pleading - Electronic Service ¥

Decl S Court Ledger Page 16 of 40

Filed 01/03/25 Page 80 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service

10/08/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 +

Submission Revd &amp; Rejected for Non-Compliance Rules Title 20

10/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/08/2024 Motion - Compel +

Motion - Compel And Order

10/08/2024 Deficient Filing ¥

Deficient Filing

10/08/2024 Request for Hearing/Trial +

third-request-admin-hearing

10/09/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

10/09/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/09/2024 Deficient Filing ~

Deficient Filing

10/10/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

10/10/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

10/11/2024 Judge's Order ~

third-request-admin-hearing
Judicial Officer
Finifter, Michael J.

10/11/2024 Writ /Summons/Pleading - Electronic Service +

Decl5 Court Ledger Page 17 of 40

Page 81 of 104

Exhibu 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 82 of 104

Writ/Summons/Pleading Electronic Service

10/11/2024 Opposition ¥

Plaintiff's Opposition to Defendant's Motion to Assert Rights and Request Immediate Rulings
10/11/2024 Opposition +

Plaintiff's Opposition to Defendant's Motion to Add Counsel of Record

10/11/2024 Opposition ¥

Plaintiffs Opposition to Defendant's Motion to Motion to Compel

10/11/2024 Deficient Filing +

Deficient Filing

10/11/2024 Motion for Special Assignment +

Request for Special Assignment

10/11/2024 Motion +

Motion for Expedited Discovery

10/14/2024 Opposition +

Opposition to Defendant's Motion for Sanctions

10/15/2024 Notice of Deficiency - Rule 20-203(d) +

Notice of Deficiency - Rule 20-203(d)

10/15/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

10/15/2024 Return/Affidavit of Served Subpoena ¥
Return/Affidavit of Served Subpoena

10/15/2024 Return/Affidavit of Served Subpoena +

Return/Affidavit of Served Subpoena

10/15/2024 Affidavit +

affidavit-bad-faith

10/15/2024 Memorandum +

Deel5 Court Ledger Page 18 of 40 Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1

memo-law-reciprical

10/15/2024 Motion +

Order/motion-disqualify-counsel

10/15/2024 Motion to Expedite

motion-expedite-hearing-admin-judge-order

10/15/2024 Motion +

Order/motion-injunction-compensation

10/15/2024 Motion +

Order/motion-strike-bad-faith-opposition

10/15/2024 Motion +

Order/motion-strike-opposition-motion-add-counsel

10/15/2024 Motion +

Order/motion-strike-opposition-motion-compel

10/16/2024 Order - Motion/Request/Petition Granted +

Motion - Vacate Order of Default

Judicial Officer
Stringer, H. Patrick, Jr.

10/16/2024 Writ ‘Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/16/2024 Order - Motion/Request/Petition Denied ~

Order-Motion to Expedite Hearing Denied

Judicial Officer
ROBINSON, DENNIS
MICHAEL, Jr.

10/16/2024 Writ /Summons/Pleading - Electronic Service ~

Writ(Summons/Pleading Electronic Service

10/16/2024 Affidavit +

Affidavit of Crayons

Filed 01/03/25

DeclS Court Ledger Page 19 of 40

Page 83 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1

10/17/2024 Affidavit ~
affidavit-contract-modifications-motion for reconsideration
10/17/2024 Motion - Reconsideration +

request-reconsdier-enforcement-admin-judge-ruling-2024 1011

10/18/2024 Order - Motion/Request/Petition Moot ¥

Motion to Strike Opposition of Motion to Vacate Default Order

Judicial Officer
Stringer, H. Patrick, Jr.

10/18/2024 Writ /Summons/Pleading - Electronic Service ~

WritSummons/Pleading Electronic Service

10/18/2024 Stricken Filing ~

Stricken Filing

10/18/2024 Motion +

motion-allow-prose-rep-llc

10/18/2024 Motion/Request for Protective Order

Plaintiffs Motion for Protective Order

10/18/2024 Line +

Line

10/18/2024 Opposition +

Plaintiffs Opposition to Motion for Expedited Discovery

10/21/2024 Notice of Striking Non-Compliant Submission +

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION

10/21/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/21/2024 Order - Motion/Request/Petition Denied +

Proposed Order / Decree

Dec15 Court Ledger Page 20 of 40

Filed 01/03/25

Page 84 of 104

Exhibti 10]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 85 of 104

Judicial Officer
Mayer, Stacy A.

10/21/2024 Writ /Summons/Pleading - Electronic Service v

Writ/Summons/Pleading Electronic Service

10/22/2024 Order - Motion/Request/Petition Denied +

Order denying and Motion for Sanctions

Judicial Officer
Stringer, H. Patrick, Jr.

10/22/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service
10/22/2024 Order - Motion/Request/Petition Denied +

Order denying defendant's Motion for expedited discovery

Judicial Officer
Mayer, Stacy A.

10/22/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

10/22/2024 Affidavit +

Affidavit of Exhibits

10/22/2024 Affidavit +

Affidavit of Writing Analysis

10/22/2024 Motion +

Amended Motion for Mandatory Injunction to Restore Lost Pay

10/22/2024 Motion/Request +

Order denying as moot and Motion/Request - Deposition Request for Agents of Ohana Growth Partners
10/22/2024 Memorandum ¥

Memorandum in Support of Reciprocal Attorney's Fees for Prevailing Defendants

10/22/2024 Mation - Compel +

Motion to Compel Productions to Support Claims at Hearing

Dec15 Court Ledger Page 21 of 40 Exhibu 101

Case 1:24-cv-03744-BAH Document 16-1

10/22/2024 Motion ¥

Order denying as moot and Motion for Early Discovery

10/22/2024 Motion - Limine +

Motion in Limine to Exclude Claims, Statements and Affirmations not supported by evidence

10/22/2024 Line +

Notice of Line Filing

10/22/2024 Opposition *

oppose-schedule-conference

Filed 01/03/25

10/23/2024 Submission Revd & Rejected for Non-Compliance Rules Title 20 +

MDJ-002 NOTICE OF REJECTED SUBMISSION

10/23/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/23/2024 Motion +

motion-better-maryland-recipricol-relief-oct23

10/23/2024 Motion +

motion-dismiss-prejudice-"June 13th"

10/23/2024 Motion +

motion-disqualify-milesstockbridge-oct23

10/23/2024 Motion ~

motion-injunctive-prevent-abuse-oct23

10/23/2024 Motion +

motion-referral-criminal-ethical-investigation-oct23

10/23/2024 Motion ¥

motion-sanctions-not-sanction

10/23/2024 Motion +

Decel5 Court Ledger Page 2

2 of 40

Page 86 of 104

Exhibui 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 87 of 104
motion-vacate-tro-oct23

10/23/2024 Reply to Opposition +

reply-opposition-expedited-discovery

10/23/2024 Notice Filed +

Notice of withdrawal of Notice of Deposition of Baltimore Business Journal

10/23/2024 Notice Filed +

Notice of withdrawal of Subpoena Duces Tecum for Documents to Baltimore B usiness Journal

10/23/2024 Notice Filed +

Notice of withdrawal of Proposed Orders for Motion for Sanctions

10/24/2024 Order - Motion/Request/Petition Denied +

Order - Motion to Assert Rights and Request for Immediate Rulings

Judicial Officer
Barranco, Michael

10/24/2024 Writ /Summons/Pleading - Electronic Service +
WritSummons/Pleading Electronic Service
10/24/2024 Order - Motion/Request/Petition Denied ¥

Order denying Motion to add counsel of record and Motion to Add Counsel of Record

Judicial Officer
Stringer, H. Patrick, Jr.

10/24/2024 Writ /Summons/Pleading - Electronic Service
Writ/Summons/Pleading Electronic Service

10/24/2024 Dismissal - Voluntary +

Order - Notice of Voluntary Dismissal

10/24/2024 Order - Motion/Request/Petition Moot ¥

Line

Judicial Officer
Mayer, Stacy A.

10/25/2024 Order - Motion/Request/Petition Denied +

Deel 5 Court Ledger Page 23 of 40 Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion to Assert Rights and Request for Immdiate Rulings

Judicial Officer
Stringer, H. Patrick, Jr.

10/25/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

10/25/2024 Order +

Notice of Deficiency and Order Striking Deficient Submission

Judicial Officer
Finifter, Michael J.

10/25/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

10/25/2024 Supporting Exhibit +

Supporting Exhibit 1- 1F7/Motion to Strike Notice of Voluntary Dismissal
10/25/2024 Motion ¥

Motion to Strike Notice of Voluntary Dismissal and Order

10/25/2024 Opposition ¥

Plaintiffs Opposition to Defendant's Motion to Strike Notice of Voluntary Dismissal
10/25/2024 Motion +

motion-sanctions-20241025

10/28/2024 Affidavit +

amended-affidavit-abussive-use-judicial-system

10/28/2024 Motion - Reconsideration +

Motion - Reconsideration

10/28/2024 Stricken Filing ¥

Stricken Filing

10/28/2024 Notice of Striking Non-Compliant Submission +

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION

Decl5 Court Ledger Page 24 of 40

Page 88 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 89 of 104

10/28/2024 Writ /Summons/Pleading - Electronic Service ¥
Writ/Summons/Pleading Electronic Service
10/28/2024 Mation +

motion-amend-affidavit-abusive-use

10/29/2024 Order - Motion/Request/Petition Denied

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201

Judicial Officer
Stringer, H. Patrick, Jr.

4

10/29/2024 Writ /Summons/Pleading - Electronic Service

Writ/Summons/Pleading Electronic Service

10/30/2024 Motion ¥

Motion for Emergency Administrative Review

10/30/2024 Motion +

Request for Clarification of October 10th and 28th Rulings

10/30/2024 Opposition +

opposition-notice-voluntary-dismissal

10/31/2024 Opposition +

Opposition to Motion for Sanctions

11/01/2024 Affidavit +

Amended Affidavit for Motion to Assert Rights and Request for Immediate Rulings

11/01/2024 Notice Filed ~

Notice Filed of Line filing for directed verdict

11/01/2024 Motion +

Motion for Directed Verdict

11/01/2024 Request for Hearing/Trial +

Request for Hearing

Dee15 Court Ledger Page 25 of 40 Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1 Filed 01/03/25 Page 90 of 104

11/01/2024 Request for Hearing/Trial +

prehearing-conference-injunctive-relief

11/01/2024 Motion to Expedite v

motion-expedite-prehearing-conference-injunctive-relief

11/04/2024 Motion +

Amended Motion for Sanctions

11/04/2024 Motion +

Amended Motion to Strike Notice of Voluntary Dismissal

11/04/2024 Motion ¥

Mation to Withdraw the original Motion for Sanctions on 10/25/24

11/04/2024 Motion +

Motion to Withdraw the Original Motion to Strike Notice of Voluntary Dismissal filed on 10/25/24
11/04/2024 Reply to Opposition +

Reply to Plaintiffs Opposition to Defendant's Motion for Sanctions

11/04/2024 Memorandum ¥

Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts

11/04/2024 Notice Filed +

Notice of Line Filing on 11/4/24 with Memorandum of Law in Support of Mandatory Hearing
11/04/2024 Motion +

motion-consolidate-prevent-framework

11/05/2024 Memorandum +

memo-law-perseverare-autum-diabolicum

11/06/2024 Order - Motion/Request/Petition Granted +

Order - Notice of Voluntary Dismissal

Judicial Officer
Stringer, H. Patrick, Jr.

Decl5 Court Ledger Page 26 of 40

Exhibu 101
Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

11/06/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

41/06/2024 Order - Motion/Request/Petition Moot +

Order/motion-disqualify-counsel

Judicial Officer
Stringer, H. Patrick, Jr.

11/06/2024 Order - Motion/Request/Petition Denied +

Order/motion-injunction-compensation

Judicial Officer
Stringer, H. Patrick, Jr.

11/06/2024 Order - Motion/Request/Petition Denied ¥

Order/motion-strike-bad-faith-opposition

Judicial Officer
Stringer, H. Patrick, Jr.

11/06/2024 Order - Motion/Request/Petition Moot +

Order/motion-strike-opposition-motion-add-counsel

Judicial Officer
Stringer, H. Patrick, Jr.

11/06/2024 Order - Motion/Request/Petition Moot ¥

Order/motion-strike-opposition-motion-compel

Judicial Officer
Stringer, H. Patrick, Jr.

11/06/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading - Confidential Electronic Service

11/06/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/08/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/06/2024 Writ /Summons/Pleading - Electronic Service +

Decl5 Court Ledger Page 27 of 40

Page 91 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ'Summons/Pleading Electronic Service

11/06/2024 Writ /Summons/Pleading - Electronic Service +
WrivSummons/Pleading Electronic Service
11/07/2024 Judicial Notation on Filing ¥

Motion - Compel And Order

Judicial Officer
ROBINSON, DENNIS
MICHAEL, Jr.

11/07/2024 Writ /Summons/Pleading - Electronic Service ¥
Writ/Summons/Pleading Electronic Service
11/07/2024 Order - Motion/Request/Petition Denied +

request-reconsdier-enforcement-admin-judge-ruling-20241011

Judicial Officer
ROBINSON, DENNIS
MICHAEL, Jr.

11/07/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service
11/07/2024 Order - Motion/Request/Petition Denied ¥

Order - Motion for Emergency Administrative Review

Judicial Officer
ROBINSON, DENNIS
MICHAEL, Jr.

11/07/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service

11/07/2024 Notice Filed +
notice-defer-final-cost-pending-documentation

11/07/2024 Motion +

Motion to Defer Finalization of costs Pending full cost documentation

11/07/2024 Motion +

motion-preserve-court-records

Dee15 Court Ledger Page 28 of 40

Page 92 of 104

Exhibu 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

11/08/2024 Affidavit ¥
affidavit-factual-basis

11/08/2024 Memorandum ¥

memorandum-law-equal-tier-fact-standard

11/08/2024 Deficient Filing +

Deficient Filing

11/08/2024 Deficient Filing +

Deficient Filing

11/08/2024 Supporting Exhibit ¥

exhibits-redacted

11/08/2024 Affidavit +

affidavit-exhibits-finharm

11/13/2024 Notice of Deficiency - Rule 20-203(d) +

Notice of Deficiency - Rule 20-203(d)

11/13/2024 Notice of Deficiency - Rule 20-203(d) +

CC-DC-094 MDEC DEFICIENCY NOTICE

11/13/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/13/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

11/14/2024 Order +

Order for Def to File via MDEC

Judicial Officer
ROBINSON, DENNIS
MICHAEL, Jr.

11/14/2024 Writ /Summons/Pleading - Electronic Service +

Dec15 Court Ledger Page 29 of 40

Page 93 of 104

Exhibu 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Writ/Summons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Moot ¥

Order denying as moot and Motion for Early Discovery

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Moot +

Order stating MIL is denied as moot

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Moot ¥

motion-disqualify-milesstockbridge-oct23

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Order - Motion/Request/Petition Moot +

motion-vacate-tro-oct23-proposed-order.

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service +
Writ/Summons/Pleading Electronic Service
11/15/2024 Writ /Summons/Pleading - Electronic Service ¥

Writ/Summons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Moot ¥

Page 94 of 104

Order denying as moot and Motion/Request - Deposition Request for Agents of Ohana Growth Partners

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Order - Motion/Request/Petition Denied +

Decl5 Court Ledger Page 30 of 40

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Motion to Compel Productions to Support Claims at Hearing

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/15/2024 Writ /Summons/Pleading - Electronic Service ~

Writ/Summons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Denied ¥

motion-referral-criminal-ethical-investigation-oct23

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/15/2024 Order - Motion/Request/Petition Moot +

Order stating motion is moot and motion-dismiss-prejudice-"June 13th" proposed-order

Judicial Officer
Stringer, H. Patrick, Jr.

11/15/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

11/15/2024 Writ /Summons/Pleading - Electronic Service +

WritSummons/Pleading Electronic Service

11/18/2024 Order - Motion/Request/Petition Denied +

CC-013 ORDER (Blank Order)

Judicial Officer
Stringer, H. Patrick, Jr.

11/18/2024 Order - Motion/Request/Petition Denied ¥

CC-013 ORDER (Blank Order)
Judicial Officer
Stringer, H. Patrick, Jr.

11/18/2024 Order - Motion/Request/Petition Denied +

Decl 5 Court Ledger Page 31 of 40

Page 95 of 104

Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1

CC-013 ORDER (Blank Order)

Judicial Officer
Stringer, H. Patrick, Jr.

41/18/2024 Order - Motion/Request/Petition Denied ~

CC-013 ORDER (Blank Order)

Judicial Officer
Stringer, H. Patrick, Jr.

11/18/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/18/2024 Order - Motion/Request/Petition Denied +

motion-sanctions-2024 1025

Judicial Officer
Stringer, H. Patrick, Jr.

11/18/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

41/19/2024 Order - Motion/Request/Petition Denied +

Motion to Strike Notice of Voluntary Dismissal and Order

Judicial Officer
Stringer, H. Patrick, Jr.

14/19/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

11/26/2024 Order - Motion/Request/Petition Denied +

prehearing-conference-injunctive-relief-proposed-order

Judicial Officer
Mayer, Stacy A.

11/26/2024 Writ /Summons/Pleading - Electronic Service +

Writ/Summons/Pleading Electronic Service

12/02/2024 Order - Motion/Request/Petition Denied +

Request for Hearing

Judicial Officer
Mayer, Stacy A.

Filed 01/03/25

Decl5 Court Ledger Page 32 of 40

Page 96 of 104

Exhibu 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

42/02/2024 Writ /Summons/Pleading - Electronic Service *

Writ/Summons/Pleading Electronic Service

12/02/2024 Order - Motion/Request/Petition Denied +

Page 97 of 104

Motion to Withdraw the Original Motion to Strike Notice of Voluntary Dismissal filed on 10/25/24

Judicial Officer
Stringer, H. Patrick, Jr.

12/02/2024 Writ /Summons/Pleading - Electronic Service ¥

WritSummons/Pleading Electronic Service

Documents

Complaint / Petition

Case Information Report Filed

Motion for TRO and Injunctive Relief
Memorandum of Law in Support of

Supporting Exhibit 1 - Hartment Affidavit
Supporting Exhibit 2 - Drummond Affidavit
Supporting Exhibit 3 - 1998 Legislative History
Order - Motion for Temporary Restraining Order
Certificate of Notice Regarding Motion for Temporary Restraining Order
CC-CV-032 WRIT OF SUMMONS
Writ/Summons/Pleading Electronic Service
Writ'Summons/Pleading Electronic Service
Line

CC-008 NOTICE OF HEARING/TRIAL

CC-008 NOTICE OF HEARING/TRIAL

CC-008 NOTICE OF HEARING/TRIAL
Writ/Summons/Pleading Electronic Service
Affidavit - Service

Order and Correspondence to Judge Truffer

Petition for Contempt/Enforcement

Dec15 Court Ledger Page 33 of 40

Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Order - Show Cause

WritSummons/Pleading Electronic Service
WritSummons/Pleading Electronic Service

Line regarding affidavit of Randall Romes
Affidavit of Randall J. Romes

Contempt Hearing Notice

Hearing Sheet

Order Granting Preliminary Injunction
WritSummons/Pleading Electronic Service
Hearing Sheet

Order Holding Defendant in Constructive Civil Contempt
Writ/Summons/Pleading Electronic Service
Plaintiffs Ex. 1 - Email and Order to Appear and Show Cause
Plaintiff's Ex. 2 - Exhibit 1 Forwarded to the Defendant
Deficient Filing

Deficient Filing

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
Writ/Summons/Pleading Electronic Service
MDJ-002 NOTICE OF REJECTED SUBMISSION
Writ/Summons/Pleading Electronic Service
Petition for Contempt/Enforcement

Supporting Exhibit - Levett Affidavit

Proposed Order / Decree Show Cause

Motion

Exhibit 1B + 1E UNREDACTED

NOTICE - FORM MDJ-008 - Exhibit 1B

NOTICE - FORM MDJ-008 - Exhibit 1E

Exhibit Series 2 + 4

Exhibit Series 1

Exhibit Series 3

Exhibit Series 5

Exhibit Series 6

Exhibit Index

Deficient Filing

FORM MDJ-008 for Exhibit 1V

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
CC-DC-094 MDEC DEFICIENCY NOTICE
Notice of Corrective Filing for Exhibit 1V

Page 98 of 104

MDJ-008: NOTICE REGARDING RESTRICTED INFORMAITON PURSUANT TO RULE 20-201.1

Exhibit 1V REDACTED

Dec15 Court Ledger Page 34 of 40

Exhibu 101]

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 99 of 104

Exhibit 1V UNREDACTED

Motion for Extension of Time & Order Denying Motion for Extension of Time
Supporting Document - Motion for Extension of Time

Supporting Exhibit - Motion for Extension of Time

Order for Motion to Strike Referenced Evidence

Supporting Document - Motion to Strike Referenced Evidence

Supporting Exhibit - Motion to Strike Referenced Evidence

Motion to Strike Exhibit B From The Affidavit of Richard Hartman
Supporting Document - Motion to Strike Exhibit B From The Affidavit of Richard Hartman
Notice of Filing

Supporting Document to Notice Filed

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Notice of Errata

Request for Clarification on Denied Motion for Extension of Time

Affidavit - Service

Show Cause/Contempt Hearing Notice

Returned/Undeliverable Mail

Writ/Summons/Pleading Electronic Service

Notice of Withdrawal of Petition for Contempt (Incarceration)

Order-Strike Show Cause Order

Deficient Filing/Env#17252208/Motion to Vacate TRO and Show Cause Order due to Insufficiency Notice
EXHIBITS - Motion to Vacate TRO and Show Cause Due to Insufficient Notice and Due Process Violations
CC-DC-094 MDEC DEFICIENCY NOTICE

Writ‘Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Motion to Amend Motion to Strike Referenced Evidence

Motion to Strike Referenced Evidence

Exhibit 8P-1 - Rule 20-301 - Content of Official Record

Exhibit 8P-2 - Motion to Strike Referenced Evidence v2

Attorney Appearance - No Fee

Opposition to Motion to Strike Referenced Evidence

Opposition to Motion to Strike Exhibit B from the Affidavit of Richard Hartman
Order - Motion to Strike Exhibit B

Writ/Summons/Pleading Electronic Service

CC-DC-102 NOTICE OF RELEASE OF EXHIBITS
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Motion to Vacate Show Cause Order of June 21 2024

Motion to Vacate Temporary Restraining Order-Denied

WritSummons/Pleading Electronic Service

Dec15 Court Ledger Page 35 of 40

Exhibu 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 100 of 104

WritSummons/Pleading Electronic Service

Request - Order of Default

Exhibit 1 - Affidavit of Process Server

Exhibit 2 - Affidavit of Non-Military Status

CC-DR-054JO ORDER OF DEFAULT

Writ/Summons/Pleading Electronic Service

Opposition to Request for Order of Default Against Ryan Dillon-Capps
Exhibit 1 - Opposition to Request for Entry of Order of Default
Wri/Summons/Pleading Electronic Service

CC-CV-008 NOTICE OF DEFAULT ORDER

Writ/Summons/Pleading Electronic Service

Motion/Request - To Dismiss

Defendant's Memorandum of Law in Support of Motion to Dismiss.pdf
Order denying Motion to Dismiss

Opposition to Defendant's Motion to Dismiss

WritSummons/Pleading Electronic Service

Motion - Vacate Order of Default

Opposition to Defendant Motion to Vacate Order of Default

Line Regarding Affidavit of Plaintiff's Abuse of the Judicial System
affidavit_plaintiff_abuse_judicial_system

Affidavit of Legal Obligation

Exhibits Affidavit of Legal Obligation

Motion to Strike Opposition of Motion to Vacate Default Order
Opposition to Motion to Strike Plaintiffs Opposition to Motion to Vacate Order of Default
Order denying and Motion for Sanctions

Affidavit for Sanctions and Exhibits

Motion to Assert Rights and Request Immediate Rulings
Line-Affidavit-Motion-Rights-Request-Immediate-Rulings
Affidavit-Motion-Rights-Request-lmmediate-Rulings

Motion to Assert Rights and Request for Immdiate Rulings

Order denying Motion to add counsel of record and Motion to Add Counsel of Record
Affidavit of Harm

Line Affidavit of Harm

Notice Filed

affidavit-financial-urgency + Exhibit 1, 2, 3

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE

MDJ-002 NOTICE OF REJECTED SUBMISSION
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Order and Motion for Urgent Hearing to Address Violation of Constitutional Rights & Rule 1-201

affidavit-financial-urgency

Decl5 Court Ledger Page 36 of 40 Exhibti 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Deficient Filing.

Notice of Deficiency and Order Striking Deficient Submission
Writ/Summons/Pleading Electronic Service

Submission Revd &amp; Rejected for Non-Compliance Rules Title 20
WrilSummons/Pleading Electronic Service

Motion - Compel And Order

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
Wri/Summons/Pleading Electronic Service

Deficient Filing

CC-DC-094 MDEC DEFICIENCY NOTICE
Writ/Summons/Pleading Electronic Service
third-request-admin-hearing

WrilSummons/Pleading Electronic Service

Page 101 of 104

Plaintiffs Opposition to Defendant's Motion to Assert Rights and Request Immediate Rulings

Plaintiffs Opposition to Defendant's Motion to Add Counsel of Record
Plaintiff's Opposition to Defendant's Motion to Motion to Compel
Deficient Filing

Notice of Deficiency - Rule 20-203(d)
Writ/Summons/Pleading Electronic Service

Request for Special Assignment

Proposed Order / Decree

Motion for Expedited Discovery

Opposition to Defendant's Motion for Sanctions

Order-Motion to Expedite Hearing Denied
WritSummons/Pleading Electronic Service

Return/Affidavit of Served Subpoena

Return/Affidavit of Served Subpoena

affidavit-bad-faith

memo-law-reciprical

Order/motion-disqualify-counsel
motion-expedite-hearing-admin-judge-order
Order/motion-injunction-compensation
Order/motion-strike-bad-faith-opposition
Order/motion-strike-opposition-motion-add-counsel
Order/motion-strike-opposition-motion-compel
Writ/Summons/Pleading Electronic Service

Affidavit of Crayons

affidavit-contract-modifications-motion for reconsideration
request-reconsdier-enforcement-admin-judge-ruling-20241 011
Writ'Summons/Pleading Electronic Service

Stricken Filing

Decl5 Court Ledger Page 37 of 40

Exhibu 101

en

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25 Page 102 of 104

motion-allow-prose-rep-lic

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION
Writ/Summons/Pleading Electronic Service

Plaintiffs Motion for Protective Order

Writ/Summons/Pleading Electronic Service

Line

Plaintiff's Opposition to Motion for Expedited Discovery

Order denying defendant's Motion for expedited discovery
Writ/Summons/Pleading Electronic Service

WritSummons/Pleading Electronic Service

Affidavit of Exhibits

Affidavit of Writing Analysis

Amended Motion for Mandatory Injunction to Restore Lost Pay

Order denying as moot and Motion/Request - Deposition Request for Agents of Ohana Growth Partners
Memorandum in Support of Reciprocal Attorney's Fees for Prevailing Defendants
Motion to Compe! Productions to Support Claims at Hearing

Order denying as moot and Motion for Early Discovery

Motion in Limine to Exclude Claims, Statements and Affirmations not supported by evidence
Order stating MIL is denied as moot

Notice of Line Filing

oppose-schedule-conference

MDJ-002 NOTICE OF REJECTED SUBMISSION

WritSummons/Pleading Electronic Service

Order - Motion to Assert Rights and Request for Immediate Rulings
motion-better-maryland-recipricol-relief-oct23

motion-dismiss-prejudice-"June 13th"

Order stating motion is moot and motion-dismiss-prejudice-"June 13th" proposed-order
motion-disqualify-milesstockbridge-oct23

motion-injunctive-prevent-abuse-oct23
motion-referral-criminal-ethical-investigation-oct23
motion-sanctions-not-sanction

motion-vacate-tro-oct23

motion-vacate-tro-oct23-proposed-order.

reply-opposition-expedited-discovery

Writ/Summons/Pleading Electronic Service

WrivSummons/Pleading Electronic Service

Notice of withdrawal of Notice of Deposition of Baltimore Business Journal
Notice of withdrawal of Subpoena Duces Tecum for Documents to Baltimore B usiness Journal
Notice of withdrawal of Proposed Orders for Motion for Sanctions

Order - Notice of Voluntary Dismissal

WritSummons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Dee!5 Court Ledger Page 38 of 40

Exhibu 101

Case 1:24-cv-03744-BAH Document16-1 Filed 01/03/25

Supporting Exhibit 1- 1F7/Motion to Strike Notice of Voluntary Dismissal
Motion to Strike Notice of Voluntary Dismissal and Order

Plaintiffs Opposition to Defendant's Motion to Strike Notice of Voluntary Dismissal
motion-sanctions-2024 1025
amended-affidavit-abussive-use-judicial-system

Motion - Reconsideration

Stricken Filing

CC-DC-101 NOTICE OF STRIKING OF NON-COMPLIANT SUBMISSION
Writ/Summons/Pleading Electronic Service
motion-amend-affidavit-abusive-use

Writ/Summons/Pleading Electronic Service

Motion for Emergency Administrative Review

Order - Motion for Emergency Administrative Review

Request for Clarification of October 10th and 28th Rulings
opposition-notice-voluntary-dismissal

Opposition to Motion for Sanctions

Amended Affidavit for Motion to Assert Rights and Request for Immediate Rulings
Notice Filed of Line filing for directed verdict

Motion for Directed Verdict

Request for Hearing

prehearing-conference-injunctive-relief
prehearing-conference-injunctive-relief-proposed-order
motion-expedite-prehearing-conference-injunctive-relief
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading - Confidential Electronic Service
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

WritSummons/Pleading Electronic Service
memo-law-perseverare-autum-diabolicum

Amended Motion for Sanctions

Amended Motion to Strike Notice of Voluntary Dismissal

Motion to Withdraw the original Motion for Sanctions on 10/25/24

Page 103 of 104

Motion to Withdraw the Original Motion to Strike Notice of Voluntary Dismissal filed on 10/25/24

Reply to Plaintiff's Opposition to Defendant's Motion for Sanctions

Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts

Notice of Line Filing on 11/4/24 with Memorandum of Law in Support of Mandatory Hearing

motion-consolidate-prevent-framework

Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
WritSummons/Pleading Electronic Service

notice-defer-final-cost-pending-documentation

DeelS Court Ledger Page 39 of 40

Exhibti 101

Case 1:24-cv-03744-BAH Document 16-1

Filed 01/03/25

Motion to Defer Finalization of costs Pending full cost documentation

motion-preserve-court-records
affidavit-factual-basis
memorandum-law-equal-tier-fact-standard
Order for Def to File via MDEC

Deficient Filing

Deficient Filing

exhibits-redacted

affidavit-exhibits-finharm

Notice of Deficiency - Rule 20-203(d)
CC-DC-094 MDEC DEFICIENCY NOTICE
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
WritSummons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
CC-013 ORDER (Blank Order)
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service
Writ/Summons/Pleading Electronic Service

Writ/Summons/Pleading Electronic Service

Dec15 Court Ledger Page 40 of 40

Page 104 of 104

Exhibu 101]

